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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

MILTON DWAYNE GOBERT,                                  §
                                                       §
                          Petitioner,                  §
                                                       §               Civil No. 1:15-CV-42-RP
v.                                                     §
                                                       §            * DEATH PENALTY CASE *
BOBBY LUMPKIN, Director,                               §
Texas Department of Criminal Justice,                  §
Correctional Institutions Division,                    §
                                                       §
                          Respondent.                  §

                             MEMORANDUM OPINION AND ORDER

        Petitioner Milton Dwayne Gobert initiated this federal habeas corpus action pursuant to 28

U.S.C. § 2254 to challenge the constitutionality of his 2010 state capital murder conviction and

sentence of death. Currently before the Court is Petitioner’s Amended Petition for Writ of Habeas

Corpus (ECF No. 22), as well as Respondent Bobby Lumpkin’s Answer (ECF No. 32) and

Petitioner’s Reply thereto (ECF No. 42). Having carefully considered the record and pleadings

submitted by both parties, the Court concludes Petitioner is not entitled to federal habeas corpus

relief or a certificate of appealability.

                                               I. Background

A.      The Offense

        In February 2006, Petitioner was indicted in Travis County for the 2003 stabbing death of

Mel Cotton committed during the course of a robbery or kidnapping. 1 CR 3-6. 1 Following

protracted litigation concerning the suppression of a statement Petitioner gave to authorities,


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        Throughout this opinion, “CR” refers to the Clerk’s Record of Petitioner’s trial while “RR” refers to the
Reporter’s Record. Both are preceded by volume number and followed by the relevant page numbers, and can be
found on this Court’s docket sheet at ECF Nos. 17-2 to 17-19.
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Petitioner’s trial commenced in February 2010. After hearing testimony and arguments for seven

days, a jury found Petitioner guilty of capital murder as charged in the indictment. 3 CR 565-67;

32 RR 131-32. The Texas Court of Criminal Appeals (TCCA) accurately summarized the

evidence presented at Petitioner’s trial:

               In the early hours of October 6, 2003, five-year-old Dem[i]trius Cotton was
       awakened by the sound of his mother, Mel Cotton, screaming from her bedroom.
       He went into her room and saw a strange man there—“kind of tall, bald, and buff.”
       He had a mustache and was wearing boots and boxers. He had gloves on his hands.
       Dem[i]trius saw his mom sitting on the edge of the bed with duct tape on her mouth;
       the man was standing in front of her, stabbing her in the arms with a sharp knife.
       She was trying to get away from him. She stood up, but then lost her balance and
       fell. The man kept stabbing, so Dem[i]trius “ran over and tried to pull him down
       by his leg.” He said, “Stop,” but the man pushed him off, turned on the bedside
       light and continued stabbing at his mom. The man told Dem[i]trius, “sit down and
       shut up,” so Dem[i]trius sat down. He was scared.

               Then the man put duct tape on Dem[i]trius’s ankles and mouth. He told
       Dem[i]trius to get out of the room, so the child hopped out into the hallway. The
       man locked the door when Dem[i]trius tried to get back inside the bedroom. He
       heard his mom scream, “Leave me alone,” but the man said, “Give me the money”
       and “Where is it at in your purse?” Dem[i]trius hopped into his room and sat on a
       pallet of blankets beside his bed. He heard the man take his mom’s phone and
       “stomp on it” in the bathroom. The man also cut the telephone cord.

               Dem[i]trius fell asleep, but he woke up when he heard the man come into
       his room. The man “choked” Dem[i]trius with both hands. Dem[i]trius tried to
       scream, but he couldn’t. He blacked out. When he woke up later, he had a hole in
       his chest with blood coming out. He went to his mom’s room. She was laying on
       the floor on her side. Dem[i]trius felt her neck. It was cold. “[S]he was gone.” He
       touched her hand and talked to her for a while. Then he went to the bathroom for
       a washcloth to stop his chest from bleeding. He looked to see if anyone else was
       there in the apartment. The man was gone. Dem[i]trius ate a popsicle, then went
       back to his room, got his stuffed caterpillar, and waited for a long time for someone
       to come. He fell asleep again, but woke up early that Monday morning when he
       heard knocking on the door. He took his stool to the door to see out of the peephole,
       and when he saw his “Aunt Tweety,” he opened the door.

                Monica Salinas, who lived in the same Austin apartment complex as Mel
       Cotton and Dem[i]trius, heard a hysterical woman crying, “My sister is dead, my
       sister is dead, please help me.” She ran up the stairs, saw Dem[i]trius with duct
       tape still around his neck and Mel Cotton’s body in the master bedroom, so she
       called 911. She saw “blood everywhere and handprints of blood all over the room.”


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                  Paramedics rushed Dem[i]trius to the hospital. He had four stab wounds in
         his chest. They were so deep that a paramedic saw Dem[i]trius’s lung inflating and
         deflating. Dem[i]trius said that he could hear the air coming out of the hole in his
         chest; it sounded like “a farting noise.” Dem[i]trius lost twenty to thirty percent of
         his blood volume and had a pneumothorax (collapsed lung) and a pulmonary
         contusion. Doctors also determined that Dem[i]trius had been strangled. Although
         his wounds were life-threatening, Dem[i]trius recovered.

                 The medical examiner testified that Mel Cotton had a total of 107 stab
         wounds that were inflicted during a drawn-out attack. Thirty-eight of the wounds
         were centered around Ms. Cotton’s left breast, indicating “some degree of [the
         victim’s] incapacitation or lack of movement.” Another group of wounds were in
         her back. She had approximately thirteen defensive wounds to her hands and arms.
         Twenty of the wounds reached her internal organs. She, like Dem[i]trius, had been
         strangled. The medical examiner said that Ms. Cotton had probably been conscious
         for about ten to twenty minutes after her jugular vein had been cut.

                  Christina Pocharasang, [Petitioner]’s former girlfriend, learned of
         Ms. Cotton’s murder later that day. She immediately suspected [Petitioner]. She
         testified that Ms. Cotton had helped her move out of [Petitioner]’s apartment two
         weeks earlier by arranging for a man named Kenneth to haul her heavy furniture.
         [Petitioner] had been furious and accused Ms. Cotton and Kenneth of stealing his
         things, including his vacuum cleaner. 2 Christina called [Petitioner] to ask him
         about the murder. When he answered the phone, [Petitioner] was breathing heavily
         and said that he had been in a fight with Kenneth, who had stabbed him in the
         stomach, causing an injury that required sixteen stitches. Christina then called the
         Austin police to report her suspicions.

                 Austin police discovered that [Petitioner] had an outstanding parole-
         violation warrant and went to his apartment to arrest him. After peeking through
         his blinds, [Petitioner] refused to open the door, so the officers made a forced entry.
         [Petitioner] did not have a stab wound in his stomach, but he did have cuts on his
         right hand that looked like those made when an attacker loses his grip on a knife
         shaft and cuts his own hand.

                Officers obtained a search warrant for [Petitioner]’s apartment and car.
         They found stain remover, bleach, and vinegar containers; a glove on top of the
         washing machine; and a glove, tennis shoes, and a striped shirt inside the washing
         machine. DNA consistent with that of Ms. Cotton’s DNA was found on the left
         tennis shoe, and DNA consistent with that of [Petitioner], Ms. Cotton, and an


2
         [Petitioner] left numerous threatening voicemails for Christina, saying such things as “Yeah, ho, you go on
and do what you like. I don’t give a f––– no more. But I bet you this one thing. You still got my shit, you keep that.
That’s yours. Since you distributed my shit to all this different mother f––– and shit. And gave my shit to these
niggers. You gave my shit to these niggers. But bitch, one day you’re going to look up, and you’re going to see me.
Bet that.”

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         unknown male 3 was found on the glove on top of the washing machine. A latent
         fingerprint, matching [Petitioner]’s fingerprint, was found on Ms. Cotton’s
         bedroom window blind.

                 While in jail, [Petitioner] bragged to his cellmate about stabbing Ms. Cotton
         and Dem[i]trius. He recounted details of the crime, including wrapping Ms. Cotton
         in an extension cord, washing his bloody clothes, and throwing the knife that he
         used in a lake. 4

                 [Petitioner] called a jail guard, Deputy Tasha Lass, to testify that the inmates
         did not have much privacy in their jail cells, thus suggesting that perhaps the
         cellmate could have learned details about the murder from reading [Petitioner]’s
         case files in his jail cell.

                 [Petitioner] also made numerous phone calls from the jail to family
         members, suggesting to one brother that he might remember that [Petitioner] and
         Mel Cotton had a sexual relationship. [Petitioner]’s older brother told [Petitioner]
         to stop asking him, his brother, and their mother to lie for him. These calls were
         recorded and played at trial. 5 In them, [Petitioner] told various versions of the
         events.

                 One of [Petitioner]’s brothers testified at trial to the version of events that
         [Petitioner] told him. According to [Petitioner], he and Mel Cotton had had sex
         that night, and then he went to sleep in her bed. She later woke him up, and they
         began arguing. She came at him with a knife, saying that she was going to shoot
         him with a gun. They struggled over the knife. He got the knife, but when he tried
         to get dressed and leave, she attacked him again. Dem[i]trius came into the room
         and “fell” on the knife that his mother was holding. [Petitioner] told his brother
         that he had stayed with the little boy, giving him pain pills, until Dem[i]trius’s aunt
         arrived the next morning. [Petitioner] told his family members that “wasn’t nothing
         wrong with [Demitrius], he was—he’s alive and he wasn’t seriously hurt . . . He
         wasn’t hurt bad at all. He went to school the next day.”

                   The jury found [Petitioner] guilty of capital murder.

Gobert v. State, No. 76,345, 2011 WL 5881601, at *1-3 (Tex. Crim. App. Nov. 23, 2011).


3
         When the DNA analysis was made, the technician did not have Dem[i]trius’s DNA.
4
         During his punishment-stage testimony, [Petitioner] confirmed that he threw the knife into the lake.
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         In one of them, [Petitioner] told his brother that a jury would surely sentence him to death if they heard that
he had attacked and stabbed his mother when he was nineteen, so he wanted his mother to lie about that event. “I
can’t have her up there. That’s, that’s suicide . . . What am I going to look like in these folks’ eyes? . . . I mean it’s
not about telling the truth, get up there and tell the truth, that’s suicide, man . . . How can you say if you love somebody
that you’re gonna sit up there and, and, and get up there and, and help go to the death chamber? That’s suicide for
me, man.”

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B.     The Punishment Phase

       The punishment phase of Petitioner’s trial began March 3, 2010. 33 RR 4. The State gave

a brief opening statement summarizing the evidence it intended to present, while defense counsel

reserved their opening statement for later. Over the course of the next week, the jury heard

testimony from twenty-six witnesses presented by the prosecution and seven witnesses presented

on behalf of the defense, including Petitioner himself.

       1.       Evidence Presented by the State

       At punishment, the State presented several witnesses to testify about Petitioner’s history of

violence. The jury heard Petitioner had previously been convicted of several offenses, including

burglary of a habitation, robbery, false imprisonment, and two counts of assault. 33 RR 82-92.

The jury also heard from three of Petitioner’s victims. Christina Pocharasang, Petitioner’s former

girlfriend who testified at the guilt-innocence phase, testified again and described three different

violent episodes in which Petitioner repeatedly punched her, bit her, strangled her, and threatened

to kill her. Id. at 32-63. Another of Petitioner’s former girlfriends, Marinda Davis, testified that

she ended the relationship because Petitioner was often jealous and began hitting her. On one

occasion, she was forced to jump out of a moving car to get away from Petitioner, who then came

after her and started hitting her in the face. 34 RR 218-227. Kresa Rogers, Petitioner’s on-and-

off girlfriend from high school, also recounted several incidents where Petitioner punched,

strangled, and threatened to kill her. On at least three different occasions, Petitioner kidnapped

Davis and would not let her leave. Id. at 230-58.

       The State also presented extensive evidence regarding Petitioner’s behavior while he has

been incarcerated. Petitioner had numerous disciplinary incidents during the seven years he was

incarcerated at the Travis County Jail, including assaulting his new cellmate, Thomas Swarmes,



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within hours of Swarmes being placed in his cell. 33 RR 94-104; 34 RR 19-25, 70-74, 91-95.

During the instant trial, Petitioner had wedged a piece of plastic into the security leg brace he was

required to wear during the trial that prevented the brace from locking. 35 RR 76-98. Testimony

was also heard regarding Petitioner’s “fraternizing” with two female jail guards, including Deputy

Tasha Lass, who testified briefly for the defense at the guilt/innocence phase. 34 RR 46-68. Lass

admitted she had been in an inappropriate relationship with Petitioner while he was incarcerated

and had given him a cell phone so they could talk without being recorded. Lass also admitted

Petitioner still had the cell phone and that she talked to him every day during the trial.

       Following her testimony and the discovery of the cell phone in Petitioner’s cell, Lass was

arrested and charged with the felony of bringing a prohibited item into a correctional facility. 35

RR 35-65. She was later recalled by the State after revealing to authorities Petitioner’s plan to

escape custody. 36 RR 145-94; 37 RR 10-36. Lass testified she first met Petitioner in December

2009 and soon became interested in Petitioner and his upcoming trial. Petitioner made her feel

“needed,” and the two began talking daily after she brought him the cell phone and charger. In

early February 2010—after voir dire had already commenced in Petitioner’s trial—Petitioner

began asking Lass to bring him a .45 pistol with a silencer and four magazines so that he “could

shoot people and locks to get out.” Petitioner also asked Lass to buy a storage shed and stock it

with food so that he could hide out until he escaped to Dubai, where he believed he would be safe

from extradition.

       According to Lass, Petitioner’s detailed plan would allow him to avoid being observed by

the jail’s security cameras and involved targeting a particular corrections officer, Martin

Fernandes. The TCCA accurately described Petitioner’s escape plan:

               [Petitioner] told Deputy Lass that he planned to call Deputy Fernandes over
       to his cell at 2:30 a.m., shoot him, drag the deputy’s body into the cell, change into


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        his clothes, grab his car keys, 6 shoot any other inmates who saw him, kill the
        control-room operator, 7 take the keys to the fire closet, grab the bag inside that
        closet that contained a rope, then go to the top floor fire closet for another rope, go
        out the roof door, tie the two ropes together and attach one end to the building, toss
        the rope over the edge and climb down, run over to the parking garage and drive
        off in Deputy Fernandes’s car. [Petitioner] would “knock out” Deputy Lass and
        put her in the fire closet, but she did not believe that he would leave her alive. She
        said that she did not want to aid in this escape plan but [Petitioner] kept asking her
        every day.

        Gobert, 2011 WL 5881601, at *5.

        Finally, the State presented expert testimony concerning the probability that Petitioner

would commit future acts of violence. A. P. Merillat, an investigator with the Special Prosecution

Unit of the Texas Department of Criminal Justice (TDCJ), testified generally regarding the

opportunity inmates have to commit violent crimes while in prison. Dr. Richard Coons, a forensic

psychologist, rebutted certain claims blaming Petitioner’s violent behavior on a childhood head

injury and testified that, in his opinion, a hypothetical person with Petitioner’s history, conduct,

and character would likely pose a danger of violence in the future.

        2.       Evidence Presented by the Defense

        The first witness presented by the defense was Larry Fitzgerald, a former public

information officer with TDCJ. 35 RR 147-207. Fitzgerald discussed the procedures in place to

ensure the safety of the inmates and employees of a maximum-security facility, although he

acknowledged that, with over 158,000 inmates in Texas, someone could act violently if they

wanted. Nevertheless, Fitzgerald testified that the probability of violence is extremely low—in

2009, there were only 1,262 serious assaults reported, 1 homicide, and only 4 escape attempts.




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         [Petitioner] told Ms. Lass that he had seen [from his cell window] Deputy Fernandes drive in and out of the
parking garage so he knew which car was his and where it was parked.
7
        [Petitioner] wanted Ms. Lass to be in the control room so she could give him the keys.

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        Talecia Gobert, Petitioner’s niece, testified that she was six or seven years old when she

started to visit Petitioner in prison with her grandmother. 35 RR 230-40. They would also write

each other weekly, and Petitioner always encouraged her to do her best and pursue her faith.

        The defense then presented the testimony of Petitioner’s older sister, older brother, and

cousin to discuss an incident that happened during Petitioner’s childhood. 35 RR 207-29; 36 RR

5-70. When Petitioner was five years old, he rode his big wheel into the street and was struck by

a passing car. Petitioner was hospitalized for several months and eventually came home in a full

body cast. Following this incident, each noticed a startling change in Petitioner’s disposition, as

he developed a quick temper and became easily agitated. Petitioner’s brother, Michael Gobert,

further testified that Petitioner had trouble controlling his temper but is only aggressive when he

feels physically threatened. He admitted that Petitioner once hit him over the head with a trophy

that required stitches.

        Petitioner’s mother, Alice Gobert, testified that Petitioner’s father was abusive but was no

longer in her life when Petitioner was born. 36 RR 70-135. She often would tell Petitioner he

needed discipline so that he would not end up like his father. Even before the accident, Petitioner

was hyperactive and wasn’t allowed to stay in nurseries because of his tantrums. After the

accident, she thought demons had possessed her child because of the ugly things he would say to

her. Petitioner’s inability to control his anger got worse with age, and by the third grade his

teachers believed he should be in alternative school. Ms. Gobert eventually became afraid of

Petitioner, and he was sent to a juvenile facility on several occasions for being aggressive with her.

On one occasion, Petitioner hit his mother with a broomstick, requiring stitches. On another




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occasion, he cut her with a knife following a physical altercation. 8 She believes her son has calmed

down while in prison and that it was better for him to be incarcerated.

         Petitioner was the last witness to testify at the punishment phase. 38 RR 41-209. Although

his defense counsel disagreed with this decision, Petitioner wanted to address the jury and make a

plea to save his life. Petitioner stated that he never knew his father growing up, and that he was

treated differently than his siblings because they had a different father. He hated his mother until

he taught himself how to love while in prison. Before that, he looked to “pimps and players on

the street” regarding how to deal with women because he wasn’t taught how to love. Since he has

been incarcerated, he has attempted to better himself by attending college courses, including 1,800

hours of computer, maintenance, and plumbing training. He has also taken literature courses and

attempted to get anger counseling.

         According to Petitioner, he never started trouble, but his anger sometimes built up to where

he could not control it. He admitted to previously behaving violently while incarcerated—striking

a man with a garden hoe, threatening guards, and participating in close to ten altercations—but

stated those actions were in self-defense and that he is no longer a violent person. Although prison

is still a violent place, he believes he can do some good by talking and sharing his experiences

with younger people.

         During direct examination and again on cross-examination, Petitioner admitted to

assaulting Kresa Miller, Marinda Davis, and Christina Pocharasang, but blamed his actions on

anger issues and the fact these women all reminded him of his mother. Petitioner also claimed that

each woman lied about the extent of the assaults and the injuries they sustained. Similarly,

Petitioner accused Thomas Swarmes and Deputy Lass of lying during their testimony, and stated


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          Petitioner’s mother and brother both testified that Petitioner called them prior to trial and asked them not to
testify about these incidents.

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his belief that Demitrius Cotton’s testimony was “coached” because he neither stabbed nor choked

Demitrius. To the contrary, Demitrius would have died if Petitioner hadn’t helped him.

       While Petitioner admitted to murdering Mel Cotton and acknowledged the crime was

horrible, he stood by his assertion that it was self-defense. Petitioner stated he was attacked by

Ms. Cotton as he got out of the shower and that he tied her up only to prevent her from reaching a

.357 revolver in her closet. One was never found. Although he had remorse for killing Ms. Cotton,

he is not the “deranged killer” the prosecution makes him out to be. If he were, Petitioner argued,

he would have just cut both Mel and Demitrius Cotton’s throats while they slept. Nevertheless,

Petitioner admitted to taking Ms. Cotton’s purse and some other items and also to disposing of the

murder weapon, his shirt, and a bloody comforter. He claimed to have had a long-standing affair

with Ms. Cotton, but that he lied to police because they didn’t respect his request for counsel.

       Petitioner asked the jury to spare his life after impartially considering his upbringing and

his eventual redemption while in prison.

       3.      Closing and Allocution

       Following this testimony, on March 10, 2010, the jury was instructed on the punishment

special issues and heard closing argument by counsel.          After closing arguments, the jury

deliberated and returned its verdict, finding unanimously (1) beyond a reasonable doubt there was

a probability Petitioner would commit criminal acts of violence that would constitute a continuing

threat to society, and (2) taking into consideration all of the evidence, including the circumstances

of the offense, the Petitioner’s character, background, and personal moral culpability, there were

insufficient mitigating circumstances to warrant a sentence of life imprisonment rather than a death

sentence. 38 RR 280-81. The trial court accordingly sentenced Petitioner to death. Id.




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        Once the verdict was read, the victim’s family was given the opportunity to make an

allocution statement. After hearing a statement from Mel Cotton’s sister, Ethel McPherson,

Petitioner shouted: “That bitch wasn’t no angel. That was a bitch, a motherfucking bitch. Fuck

all y’all. That was a bitch, a ho bitch.” When the trial court attempted to intervene, Petitioner

replied, “No, fuck you. Fuck your allocution. Fuck all you motherfuckers.”

C.      Post-conviction Proceedings

        Petitioner appealed his conviction and sentence, raising seven points of error in his direct

appeal brief. In an opinion issued November 23, 2011, the TCCA affirmed Petitioner’s conviction

and sentence. Gobert, 2011 WL 5881601. The United States Supreme Court later denied

Petitioner’s petition for writ of certiorari. Gobert v. Texas, 568 U.S. 827 (2012).

        While his direct appeal was still pending, Petitioner was appointed counsel—attorney John

Stickels—to represent him in pursuing state habeas corpus relief. Mr. Stickels filed a lengthy state

habeas application on Petitioner’s behalf in the state trial court raising a total of twelve multi-

faceted claims for relief. 2 SHCR at 261-476. 9 Following a response in opposition from the State,

the trial court issued findings of fact and conclusions of law recommending that state habeas corpus

relief be denied. Supp. SHCR at 155-69. In an order dated January 14, 2015, the TCCA adopted

the trial court’s findings of fact and conclusions of law and denied Petitioner state habeas corpus

relief. Ex parte Gobert, No. 77,090-01 (Tex. Crim. App. 2015).

        One year following the denial of state habeas relief, Petitioner filed his initial federal

habeas corpus petition in this Court (ECF No. 21) and amended the petition two months later (ECF

No. 22). Thereafter, Respondent filed an answer to the amended petition (ECF No. 32) to which

Petitioner responded (ECF No. 42). The case is now ripe for adjudication.


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        “SHCR” refers to the State Habeas Clerk’s Record while “Supp. SHCR” refers to the Supplemental State
Habeas Clerk’s Record. Both are preceded by volume number and followed by the relevant page numbers.

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                                     II. Claims for Relief

       As raised in his amended federal petition (ECF No. 22), the following sixteen allegations

are now before the Court:

       1.     Petitioner received ineffective assistance of trial counsel by counsels’
              failure to investigate and present Jason Gibson as a witness to establish the
              existence of a prior relationship between the victim and Petitioner;

       2.     Gibson’s affidavit establishes that Petitioner is actually innocent of capital
              murder;

       3.     Trial counsel were ineffective for failing to investigate, develop, and present
              compelling mitigation evidence at the punishment phase;

       4.     Petitioner received ineffective assistance of appellate counsel by counsel’s
              failure to raise viable claims on direct appeal;

       5.     Trial counsel were ineffective for failing to thoroughly investigate the
              testimony of Tasha Lass prior to calling her as a witness during the
              guilt/innocence phase of trial;

       6.     Trial counsel were ineffective for failing to timely pursue an investigation
              and file a motion for new trial alleging they rendered ineffective assistance;

       7.     Special Issue Number One, the future dangerousness special issue, is
              unconstitutionally vague, fails to narrow the class of defendants sentenced
              to death, and limits the jury’s ability to consider mitigating evidence;

       8.     Special Issue Number Two, the mitigation special issue, is unconstitutional
              because it places the burden of proof on the defendant rather than the State;

       9.     The mitigation special issue violates the Eighth Amendment because it
              lacks minimal standards for a jury to make its determination;

       10.    The mitigation special issue is unconstitutional because it sends “mixed
              signals” to the jury and restricts their consideration of evidence;

       11.    Texas’s “12-10” rule is unconstitutional because it misleads jurors about
              their individual ability to give effect to their beliefs regarding mitigation;

       12.    The trial court erred in admitting the testimony of A.P. Merillat at the
              punishment phase because it violated Petitioner’s right to an individualized
              assessment of his future dangerousness;

       13.    The trial court erred in admitting the future-dangerousness prediction of Dr.
              Richard Coons at the punishment phase;

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       14.     The Texas capital sentencing process is unconstitutional because it allows
               unfettered prosecutorial discretion, does not require future dangerousness
               factors to be set forth in the indictment, and permits the use of unreliable
               evidence;

       15.     Trial counsel rendered ineffective assistance by revealing to the jury their
               disagreement with Petitioner’s decision to testify; and

       16.     The search and seizure of evidence from his car, home, and person violated
               his Fourth Amendment rights.

                                     III. Standard of Review

       Petitions for federal habeas corpus relief are governed by the heightened standard of review

provided by the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA). See 28 U.S.C.

§ 2254. But the standard of review a federal court applies to such petitions will differ depending

on the state court’s treatment of the federal claims. If the claims raised in the federal petition were

adjudicated on the merits in state court, federal courts should apply the deferential standard of

review provided by § 2254(d). With respect to claims that have not been adjudicated on the merits

by the state courts, however, a federal court does not conduct review pursuant to § 2254(d).

Instead, the court applies a de novo standard of review. See Hoffman v. Cain, 752 F.3d 430, 437

(5th Cir. 2014).

A.     Claims Adjudicated in State Court

       The AEDPA “imposes a highly deferential standard of review for evaluating state-court

rulings and demands that state-court decisions be given the benefit of the doubt.” Hardy v. Cross,

565 U.S. 65, 66 (2011) (per curiam). Under the heightened standard of § 2254(d), a petitioner may

not obtain federal habeas corpus relief on any claim that was adjudicated on the merits in a state

court proceeding unless the state court’s adjudication either: (1) resulted in a decision that was

contrary to, or involved an unreasonable application of, clearly established federal law, as

determined by the Supreme Court of the United States, or (2) resulted in a decision that was based


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on an unreasonable determination of the facts in light of the evidence presented in the state court

proceeding. Brown v. Payton, 544 U.S. 133, 141 (2005). This intentionally difficult standard

stops just short of imposing a complete bar on federal court relitigation of claims already rejected

in state proceedings. Harrington v. Richter, 562 U.S. 86, 102 (2011) (citing Felker v. Turpin, 518

U.S. 651, 664 (1996)).

       A federal habeas court’s inquiry into unreasonableness should always be objective rather

than subjective, with a focus on whether the state court’s application of clearly established federal

law was “objectively unreasonable” and not whether it was incorrect or erroneous. McDaniel v.

Brown, 558 U.S. 120 (2010); Wiggins v. Smith, 539 U.S. 510, 520-21 (2003). Even a strong case

for relief does not mean the state court’s contrary conclusion was unreasonable, regardless of

whether the federal habeas court would have reached a different conclusion itself. Richter, 562

U.S. at 102. Instead, a petitioner must show that the decision was objectively unreasonable, which

is a “substantially higher threshold.” Schriro v. Landrigan, 550 U.S. 465, 473 (2007); Lockyer v.

Andrade, 538 U.S. 63, 75-76 (2003).

       So long as “fairminded jurists could disagree” on the correctness of the state court’s

decision, a state court’s determination that a claim lacks merit precludes federal habeas

relief. Richter, 562 U.S. at 101 (citing Yarborough v. Alvarado, 541 U.S. 652, 664 (2004)). In

other words, to obtain federal habeas relief on a claim previously adjudicated on the merits in state

court, Petitioner must show that the state court’s ruling “was so lacking in justification that there

was an error well understood and comprehended in existing law beyond any possibility for

fairminded disagreement.” Id. at 103; see also Bobby v. Dixon, 565 U.S. 23, 24 (2011).




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B.      Claims Not Adjudicated in State Court

        For claims that have not been adjudicated on the merits in state court, the deferential

scheme laid out in § 2254(d) will not apply and a reviewing court must instead “apply a de novo

standard of review.” Ward v. Stephens, 777 F.3d 250, 256 (5th Cir. 2015); Hoffman, 752 F.3d at

437. But a petitioner may not escape § 2254(d)’s deferential review simply by “using evidence

that is introduced for the first time” in federal court. Blue v. Thaler, 665 F.3d 647, 656 (5th Cir.

2011). To the contrary, except for the narrow exceptions contained in § 2254(e)(2), a habeas

petitioner is precluded from further factual development in federal court and must rely on the

evidence presented to the state court when challenging a state court finding. Cullen v. Pinholster,

563 U.S. 170, 181-82 (2011) (explaining that § 2254(d)(1) “requires an examination of the state-

court decision at the time it was made” and that review “is limited to the record that was before

the state court.”).

        Similarly, § 2254(e)(2) also restricts the discretion of a district court to consider new

evidence when deciding claims entirely without a state court merits adjudication. Pinholster, 563

U.S. at 185-86. As such, a petitioner must be diligent to develop the record in state court first and

present, if possible, all claims of constitutional error. (Michael) Williams v. Taylor, 529 U.S. 420,

430 (2000). “If the prisoner fails to do so, himself or herself contributing to the absence of a full

and fair adjudication in state court, § 2254(e) prohibits an evidentiary hearing to develop the

relevant claims in federal court, unless the statute’s other stringent requirements are met.” Id. at

437. Even if the petitioner exercised diligence in state court, a district court nevertheless retains

discretion to deny a hearing and may do so if the federal record is sufficiently developed to make

an informed decision. Schriro, 550 U.S. at 468; McDonald v. Johnson, 139 F.3d 1056, 1060 (5th

Cir. 1998).



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                                                   IV. Analysis

A.       Actual Innocence (Claim 2)

         Petitioner first contends he is “actually innocent” of capital murder because he did not

“commit or attempt to commit a robbery.” According to Petitioner, the affidavit of Jason Gibson—

presented for the first time during Petitioner’s state habeas proceedings—establishes a prior

relationship between Petitioner and Mel Cotton that proves she was not killed during the course of

a robbery. In response, Respondent argues that Petitioner’s assertion of actual innocence fails to

state a claim upon which federal habeas relief may be granted and is alternatively without merit.

Because the Court agrees that Petitioner’s claim of actual innocence is not a cognizable federal

habeas claim, the merits of the allegation need not be reached.

         “Freestanding” claims of actual innocence, such as the allegation now before the Court, do

not provide a valid basis for federal habeas relief. Dowthitt v. Johnson, 230 F.3d 733, 741 (5th

Cir. 2000) (citing Herrera v. Collins, 506 U.S. 390, 400 (1993)). “This rule is grounded in the

principle that federal habeas courts sit to ensure that individuals are not imprisoned in violation of

the Constitution—not to correct errors of fact.” Herrera, 506 U.S. at 399. Although the Herrera

court left open the question of whether, in a capital case, “a truly persuasive demonstration of

‘actual innocence’ made after trial would . . . warrant habeas relief if there were no state avenue

open to process such a claim,” 506 U.S. at 417, the Fifth Circuit has consistently rejected this

theory. 10 See Cantu v. Thaler, 632 F.3d 157, 167 (5th Cir. 2011); In re Swearingen, 556 F.3d 344,

348 (5th Cir. 2009); Graves v. Cockrell, 351 F.3d 143, 151 (5th Cir. 2003) (collecting cases).

Because the Fifth Circuit does not recognize freestanding claims of actual innocence on federal


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         In later revisiting the issue of actual innocence, the Supreme Court declined to resolve the question of whether
freestanding actual-innocence claims are to be recognized in federal habeas proceedings. House v. Bell, 547 U.S. 518,
555 (2006).


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habeas review, Petitioner’s allegation must be rejected. 11

         Even assuming Petitioner’s actual-innocence claim could be the basis for federal relief, it

would only be cognizable if there were no state procedure available for making the claim. Herrera,

506 U.S. at 417; Graves, 351 F.3d at 151. Such is not the situation in Texas, where state procedures

are available to raise actual-innocence claims in clemency proceedings or a state habeas petition.

See Tex. Crim. Proc. Code art. 48.01 (West 2019); Lucas v. Johnson, 132 F.3d 1069, 1075 (5th

Cir. 1998). Indeed, Petitioner unsuccessfully raised this actual-innocence allegation during his

state habeas corpus proceedings. Supp. SHCR at 158-59. Thus, Petitioner’s freestanding claim

of actual innocence must be denied.

B.       Trial Counsel (Claims 1, 3, 5, 6, and 15)

         Petitioner next raises several claims alleging he received ineffective assistance of trial

counsel (IATC) at both the guilt/innocence and punishment phases of trial. Specifically, Petitioner

faults counsel for: failing to investigate and present Jason Gibson as a witness to establish the

existence of a prior relationship (Claim 1); failing to investigate and present compelling mitigation

evidence (Claim 3); failing to thoroughly investigate Tasha Lass prior to calling her as a witness

(Claim 5); failing to investigate and file a timely motion for new trial (Claim 6); and revealing to

the jury that counsel advised Petitioner not to testify (Claim 15).




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          Perhaps for this reason, Petitioner suggests that the Court consider this claim a “Schlup-type claim.” In
Schlup v. Delo, the Supreme Court distinguished freestanding, substantive innocence claims—in which a petitioner
asserts that his innocence entitles him to habeas relief—from procedural innocence claims in which a petitioner seeks
to “have his otherwise barred constitutional claim considered on the merits.” Schlup v. Delo, 513 U.S. 298, 315 (1995)
(quoting Herrera, 506 U.S. at 404). This distinction makes it clear that the instant claim is substantive rather than
procedural. Although Petitioner’s actual-innocence claim is similar to his first ineffective-assistance claim (in that it
relies on the Gibson affidavit), he is not using it to obtain review of that ineffective-assistance claim. Indeed, he has
no reason to do so—in the following section, the Court can and will consider the merits of the ineffective-assistance
claim, which is not subject to a procedural bar. The Court thus declines Petitioner’s invitation to consider this claim
under Schlup. See Coleman v. Thaler, 716 F.3d 895, 908-09 (5th Cir. 2013).


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       Four of these five allegations—Claims 1, 3, 5, and 15—were raised and rejected in state

court during either Petitioner’s direct appeal or state habeas proceedings. As discussed below,

Petitioner fails to demonstrate the state court’s rejection of the claims was contrary to, or an

unreasonable application of, Supreme Court precedent. The remaining IATC claim concerning

counsels’ failure to file a motion for new trial (Claim 6) was not exhausted in state court and is

therefore procedurally barred from federal habeas review. The claim also lacks merit even when

reviewed under a de novo standard. Thus, relief is denied on each of Petitioner’s IATC claims.

       1.      The Strickland Standard of Review

       In the habeas context, IATC allegations are reviewed under the familiar two-prong test

established in Strickland v. Washington, 466 U.S. 668 (1984). Under Strickland, Petitioner must

demonstrate (1) counsels’ performance was deficient, and (2) this deficiency prejudiced his

defense. Id. at 687-88, 690. According to the Supreme Court, “[s]urmounting Strickland’s high

bar is never an easy task.” Padilla v. Kentucky, 559 U.S. 356, 371 (2010).

       Strickland’s first prong “sets a high bar.” Buck v. Davis, 137 S. Ct. 759, 775 (2017). “To

demonstrate deficient performance, the defendant must show that, in light of the circumstances as

they appeared at the time of the conduct, ‘counsel’s representation fell below an objective standard

of reasonableness’ as measured by ‘prevailing professional norms.’” Rhoades v. Davis, 852 F.3d

422, 431-32 (5th Cir. 2017) (quoting Strickland, 466 U.S. at 687-88). This requires the Court to

“affirmatively entertain the range of possible ‘reasons . . . counsel may have had for proceeding as

they did.’” Cullen v. Pinholster, 563 U.S. at 196. “A conscious and informed decision on trial

tactics and strategy cannot be the basis for constitutionally ineffective assistance of counsel unless

it is so ill chosen that it permeates the entire trial with obvious unfairness.” Cotton v. Cockrell,

343 F.3d 746, 752-53 (5th Cir. 2003). As such, counsel is “strongly presumed to have rendered



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adequate assistance and made all significant decisions in the exercise of reasonable professional

judgment.” Burt v. Titlow, 571 U.S. 12, 17 (2013) (quoting Strickland, 466 U.S. at 690).

       To satisfy Strickland’s second prong, the defendant must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different. In conducting a Strickland’s prejudice analysis, a court must “consider all the

relevant evidence that the jury would have had before it if [trial counsel] had pursued the different

path.” Wong v. Belmontes, 558 U.S. 15, 20 (2009) (per curiam). However, the question “is not

whether a court can be certain counsel’s performance had no effect on the outcome or whether it

is possible a reasonable doubt might have been established if counsel [had] acted differently.”

Harrington v. Richter, 562 U.S. at 111-12 (emphasis added) (citing Wong, 558 U.S. at 27). Rather,

the “likelihood of a different result must be substantial, not just conceivable.” Id.

       Finally, where the IATC claims raised by Petitioner were adjudicated on the merits by the

state court, this Court must review these claims under the “doubly deferential” standards of both

Strickland and 28 U.S.C. § 2254(d). Woods v. Etherton, 136 S. Ct. 1149, 1151 (2016) (citing

Pinholster, 563 U.S. at 190); Knowles v. Mirzayance, 556 U.S. 111, 112 (2009) (same). Such

claims are considered mixed questions of law and fact and are analyzed under the “unreasonable

application” standard of § 2254(d)(1). Gregory v. Thaler, 601 F.3d 347, 351 (5th Cir. 2010). In

reviewing these claims, the “pivotal question” is not “whether defense counsel’s performance fell

below Strickland’s standards, but whether “the state court’s application of the Strickland standard

was unreasonable.” Richter, 562 U.S at 101. That is to say, the question to be asked in this case

is not whether counsels’ actions were reasonable, but whether “there is any reasonable argument

that counsel satisfied Strickland’s deferential standard.” Id. at 105.




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       2.      Jason Gibson (Claim 1)

       Petitioner’s first IATC claim alleges counsel were ineffective for failing to interview and

present Jason Gibson as a witness at the guilt/innocence phase of trial. During Petitioner’s state

habeas proceedings, Gibson provided an affidavit claiming to have seen Petitioner with the victim,

Mel Cotton, on more than one occasion around 2002-2003. While he did not actually meet

Petitioner until they were both incarcerated at the Travis County Jail in 2003 or 2004, Gibson

stated that he had seen both Petitioner and the victim, separately and together, at an apartment

complex he frequently visited in north Austin. Petitioner argues Gibson’s testimony, had counsel

discovered and presented it, would have established a prior relationship between the victim and

Petitioner and rebutted the assertion that Petitioner murdered the victim during the course of a

robbery. This argument is unconvincing for several reasons.

       To start, despite Petitioner’s claims to the contrary, counsel did conduct a reasonable

investigation into the existence of an ongoing relationship between Petitioner and the victim.

Strickland, 466 U.S. at 690-91 (requiring counsel to undertake a reasonable investigation).    To

be reasonable, counsel must, at minimum, interview potential witnesses and make an independent

investigation of the facts and circumstances of the case. Kately v. Cain, 704 F.3d 356, 361 (5th

Cir. 2013). But in assessing the reasonableness of counsel’s investigation, a heavy measure of

deference is applied to counsel’s judgments, and is weighed in light of the defendant’s own

statements and actions. Strickland, 466 U.S. at 691.

       During Petitioner’s state habeas proceedings, counsel submitted affidavits addressing, in

part, Petitioner’s allegation regarding Jason Gibson. Lead counsel for the defense, Leonard

Martinez, refuted the notion that counsel did not adequately investigate the robbery angle. Supp.

SHCR at 6. According to Martinez, the defense team—which included himself, two other “very



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able lawyers,” a mitigation specialist, and an investigator—“investigated every fact that made up

the elements of robbery and kidnaping” but had never heard of Gibson before. Id. Martinez’s co-

counsel, Kent Anschutz, elaborated by stating Petitioner never mentioned Gibson despite

specifically being asked “for names of witnesses that could substantiate the existence of an

ongoing relationship between [Petitioner] and the victim.” II SCHR at 534.

       Because Petitioner failed to mention Gibson throughout the pendency of his case, trial

counsel can hardly be deemed deficient for failing to interview Gibson about his alleged

knowledge of Petitioner’s prior relationship with the victim. See Ransom v. Johnson, 126 F.3d

716, 723 (5th Cir. 1997) (holding whether counsel’s investigation is reasonable may critically

depend on the information provided by the defendant). Indeed, the state habeas trial court

explicitly credited counsels’ statements and concluded counsels’ performance was not deficient.

Supp. SHCR at 155-57. This determination, including the trial court’s credibility findings, is

entitled to a presumption of correctness which Petitioner has not overcome.              Richards v.

Quarterman, 566 F.3d 553, 563-64 (5th Cir. 2009).

       Furthermore, even assuming counsel was deficient, Petitioner fails to demonstrate that the

results of his trial would have been different had counsel discovered and investigated Gibson as a

witness. Strickland, 466 U.S. at 694. Petitioner claims Gibson would have provided the jury with

evidence of Petitioner’s existing relationship with the victim that would, in turn, negate the robbery

charge. But the alleged existence of any relationship between the two would not necessarily have

impacted the jury’s decision regarding whether Petitioner murdered Ms. Cotton during the course




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of a robbery because it is possible to commit a robbery against someone known by the perpetrator.

See Tex. Penal Code § 29.02. 12

         Indeed, the jury heard argument from counsel and testimony from several witnesses

suggesting there may have been a previous relationship between the two. 26 RR 22 (opening

argument by counsel suggesting an ongoing relationship); 29 RR 28-29 (testimony from

Petitioner’s former cellmate that Petitioner admitted to stabbing his girlfriend), 47-49 (cross-

examination of Petitioner’s brother regarding whether he knew of a relationship between Petitioner

and Ms. Cotton); 30 RR 47-48 (testimony from Petitioner’s brother suggesting on ongoing

relationship); 32 RR 63 (closing argument suggesting ongoing relationship). Thus, any testimony

Gibson could provide on the subject would have been cumulative of evidence already presented at

trial. See Trottie v. Stephens, 720 F.3d 231, 246-47 (5th Cir. 2013) (finding IATC claim for failing

to call a witness fails if the proposed testimony was cumulative of evidence already in the record);

Skinner v. Quarterman, 528 F.3d 336, 345 n. 11 (5th Cir. 2008) (same).

         Finally, it is unlikely that counsels’s alleged error was prejudicial because the evidence that

Petitioner committed a robbery in addition to murdering Ms. Cotton was substantial. See Berghuis

v. Thompkins, 560 U.S. 370, 390 (2010) (noting the weight of the evidence of guilt in finding

alleged deficient performance of counsel not prejudicial); Pondexter v. Quarterman, 537 F.3d 511,

525 (5th Cir. 2008) (same). In assessing prejudice, this Court must consider “the totality of the

evidence before the judge or jury.” Mejia v. Davis, 906 F.3d 307, 315 (5th Cir. 2018) (quoting

Strickland, 466 U.S. at 696) (internal quotation marks omitted). In this case, the evidence

established that Petitioner committed robbery in addition to murder. 26 RR 157 (testimony from



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          Under § 29.02, a person commits robbery if, “in the course of committing theft . . . and with intent to obtain
or maintain control of the property, he: (1) intentionally, knowingly, or recklessly causes bodily injury to another; or
(2) intentionally or knowingly threatens or places another in fear of imminent bodily injury or death.”

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Detective De Los Santos that, when speaking to Demitrius Cotton at the hospital, Demitrius told

him Petitioner “took my mama’s purse and money”); 28 RR 202, 222-25 (testimony from

Demitrius that Petitioner demanded money from his mother and that her purse was missing from

the apartment); 38 RR 180 (testimony from Petitioner during the punishment phase admitting to

taking Ms. Cotton’s purse and cell phone).

       Consequently, Petitioner has demonstrated neither deficient performance nor prejudice,

much less that the state court’s denial of this claim was an unreasonable application of Strickland.

As such, under the “doubly” deferential review encompassed by Strickland and the AEDPA,

Petitioner’s claim fails. Richter, 562 U.S. at 105.

       3.      The Mitigation Investigation (Claim 3)

       Petitioner next claims his trial counsel were ineffective for failing to adequately investigate

and present mitigating evidence to the jury at the punishment phase. Specifically, Petitioner faults

counsel for not interviewing or presenting testimony from three of his former teachers to help

support the defense’s mitigation theory that Petitioner lacked impulse control due to being hit by

a car as a child. Petitioner also contends counsel, had they conducted an adequate investigation,

could have better utilized the testimonies of his mother and brother to include readily available

mitigating evidence concerning Petitioner’s background and upbringing. This allegation was

raised and rejected during Petitioner’s state habeas corpus proceedings.          Petitioner fails to

demonstrate that this adjudication was contrary to, or an unreasonable application of, clearly

established federal law.

       In preparing for the penalty phase of a death penalty trial, “counsel must either

(1) undertake a reasonable investigation or (2) make an informed strategic decision that

investigation is unnecessary.” Charles v. Stephens, 736 F.3d 380, 389 (5th Cir. 2013). However,



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lawyers generally need not go “looking for a needle in a haystack,” especially when they have

“reason to doubt there is any needle there.” Maryland v. Kulbicki, 136 S. Ct. 2, 4-5 (2015) (per

curiam) (quoting Rompilla v. Beard, 545 U.S. 374, 389 (2005)). Instead, counsel’s decision not

to investigate a particular matter “must be directly assessed for reasonableness in all the

circumstances, applying a heavy measure of deference to counsel’s judgments.” Wiggins v. Smith,

539 U.S. 510, 522 (2003). When the omission alleged is failing to investigate something in

particular, a court must look at “the known evidence” and whether it “would lead a reasonable

attorney to investigate further.” Id. at 527. There is always a strong presumption that an alleged

deficiency “falls within the wide range of reasonable professional assistance.” Feldman v. Thaler,

695 F.3d 372, 378 (5th Cir. 2012) (quoting Strickland, 466 U.S. at 689)).

       The record in this case supports the state court’s conclusion that Petitioner’s trial counsel

“were well-informed about [Petitioner’s] background and made reasonable decisions based on trial

strategy.” Supp. SHCR at 160. Petitioner’s defense team consisted of three experienced attorneys,

a mitigation specialist, and an investigator. Id. at 6. The defense team obtained and reviewed a

significant amount of records as part of their investigation and conducted interviews, either by

phone or in person, with Petitioner, his family, and former schoolteachers. II SHCR at 487-91.

Counsel also obtained the services of Larry Fitzgerald, an expert on prison society within TDCJ,

to rebut the anticipated testimony of A. P. Merillat at trial.

       As a result of their investigation, counsel presented a substantial mitigating case during the

punishment phase of Petitioner’s trial, including testimony from Petitioner’s mother, sister,

brother, and cousin concerning the following: (1) Petitioner’s temper and lack of impulse control

following his being hit by an automobile at age five, (2) Petitioner was disciplined physically by

his mother and fought often with his siblings and neighborhood kids, (3) Petitioner’s biological



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father, who was gone by the time Petitioner was born, was an alcoholic and physically abused

Petitioner’s mother well into her eighth month of pregnancy with Petitioner, (4) Petitioner was

born a month early, and his mother attempted an abortion in her third month of pregnancy,

(5) Petitioner had emotional problems at school and teachers thought he should go to alternative

school by the third grade, and (6) Petitioner’s mother thought demons had possessed her child after

his accident, could not control him, and eventually became scared of him. All this evidence

supported counsels’ stated intention to demonstrate Petitioner’s lack of impulse control was the

product of his father’s legacy of violence, prenatal abuse, and the injuries he sustained when hit

by a car at age five.

        Petitioner does not contend this strategy was deficient; rather, he argues counsel were

deficient in implementing it by conducting an unreasonably limited investigation. According to

Petitioner, at least three of Petitioner’s former schoolteachers could have testified about

Petitioner’s emotional problems and lack of impulse control in a school setting. Petitioner also

contends his mother and brother could have been better utilized to provide further details about

Petitioner’s background and upbringing. 13              However, complaints of uncalled witnesses are

disfavored as means of establishing an IATC claim, in part because allegations of what a witness

would have testified are largely speculative. Day v. Quarterman, 566 F.3d 527, 538 (5th Cir.

2009). To prevail on an IATC claim based on counsel’s failure to call a witness, the petitioner

must name the witness, demonstrate the witness was available to testify, delineate the content of

the witness’s proposed testimony, and show the testimony would have been favorable to the

defense. Gregory v. Thaler, 601 F.3d 347, 352 (5th Cir. 2010); Day, 566 F.3d at 538.


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         This evidence included: (1) Petitioner’s mental and emotional instability, substance abuse, and suicide
attempt, (2) Petitioner’s lifelong fear that demons were after him, (3) Petitioner’s academic problems and lack of
impulse control at school, (4) a family history of substance abuse, (5) physical abuse meted out as discipline by his
mother, brother, and uncles, and (6) abuse suffered by Petitioner’s mother before Petitioner was born.

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       Assuming the first three requirements are satisfied by the affidavits submitted by

Petitioner’s family and former schoolteachers during his state habeas proceedings, Petitioner still

fails to demonstrate the fourth—that the proposed testimony would be favorable. In fact, much of

what is contained in these affidavits is not even new, but is of the same nature as that already

presented to the jury. For instance, evidence that Petitioner lacked impulse control, had difficulty

in school and exhibited mental and emotional instability was presented at length by Petitioner’s

mother, brother, and sister, as well as through the testimony of Petitioner himself. See Background,

Section I(B)(2), supra. The severe abuse Petitioner’s mother suffered at the hands of Petitioner’s

father, his father’s alcoholism, and the physical altercations Petitioner had with his family

members and neighbors was also discussed extensively by Petitioner’s family at trial. While the

affidavits presented by Petitioner undoubtedly provide more details in hindsight, any additional

testimony regarding Petitioner’s upbringing and lack of impulse control would have been largely

redundant of evidence already presented at trial. See Trottie, 720 F.3d at 246-47 (finding IATC

claim for failing to call a witness fails if the proposed testimony was cumulative of evidence

already in the record); Skinner, 528 F.3d at 345 n. 11) (same).

       Regardless, even assuming counsel were deficient in not investigating further, Petitioner

fails to demonstrate prejudice under the second prong of Strickland. For mitigation-investigation

claims such as these, a federal habeas court must “reweigh the evidence in aggravation against the

totality of available mitigating evidence.” Trevino v. Davis, 861 F.3d 545, 549 (5th Cir. 2017)

(citing Wiggins, 539 U.S. at 534). Strickland does not require the State to “rule out” or negate a

sentence of life in prison to prevail; rather, it places the burden on the defendant to show a

“reasonable probability” that, but for counsels’ deficient investigation, the result of the punishment

phase of a trial would have been different. Wong, 558 U.S. at 27 (citing Strickland, 466 U.S. at



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694). But “[t]he likelihood of a different result must be substantial, not just conceivable.” Brown

v. Thaler, 684 F.3d 482, 491 (5th Cir. 2012) (citing Richter, 562 U.S. at 112). And it is virtually

impossible to establish Strickland prejudice in cases such as this where the evidence of future

dangerousness is overwhelming. Busby v. Davis, 925 F.3d 699, 726 (5th Cir. 2019) (citing Ladd

v. Cockrell, 311 F.3d 349, 360 (5th Cir. 2002)).

         As noted by Respondent, the punishment evidence against Petitioner was “exceedingly

strong.” The jury had already heard an abundance of evidence concerning the brutality of Mel

Cotton’s murder, including the fact that she was stabbed 107 times, as well as the fact that her five-

year-old son, Demitrius, was repeatedly stabbed but nonetheless lived to testify against

Petitioner. 14 At the punishment phase, the jury then heard evidence Petitioner had previous

convictions for burglary, robbery, false imprisonment, and two counts of assault. The jury also

heard from three of Petitioner’s former girlfriends who testified Petitioner repeatedly abused them

by punching, biting, strangling, and threatening their lives. Petitioner was also a less-than-model

prisoner while incarcerated at the Travis County Jail, having assaulted his cellmate and committing

numerous disciplinary infractions, including “fraternizing” with two female jail guards. One of

these jail guards, Tasha Lass, admitted to smuggling in a cell phone for Petitioner, who then

attempted to recruit her in an elaborate escape plan that involved her smuggling a weapon into the

jail so he could shoot everyone who stood in his way. Petitioner also tampered with his security

leg brace on two occasions, negating its disabling effect. See Background, Section I(B)(1), supra.


14
         While, by their nature, all capital murder cases involve terrible circumstances, Supreme Court precedent
plainly anticipates that the severity of the crime is a relevant factor in Strickland prejudice. See Smith v. Spisak, 558
U.S. 139, 154-55 (2010); Strickland, 466 U.S. at 699; see also Carty v. Thaler, 583 F.3d 244, 263 (5th Cir. 2009) (“In
this re-weighing, the brutality of the crime is relevant but does not automatically trump additional mitigating
evidence.”); Vasquez v. Thaler, 389 F. App’x 419, 428 (5th Cir. 2010) (unpublished) (“Naturally, the power of the
newly amplified case to mitigate a jury’s selected punishment will be contingent on other factors in the case, such as
the circumstances of the crime.”).



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       Additionally, Petitioner then took the stand and admitted to assaulting his mother, brother,

and each of the women who testified against him. However, he claimed his actions were the result

of anger issues or the fact the women all reminded him of his mother. He also admitted to killing

Mel Cotton, although he stood by his argument that his actions were self-defense. And he claimed

his assault on an inmate with a garden hoe, his threatening of several guards, and his participation

in around ten prison fights were also the results of his acting in self-defense. See Background,

Section I(B)(2), supra.

      Given Petitioner’s testimony and the strength of the overwhelming evidence establishing

Petitioner’s future dangerousness, Petitioner fails to establish the result would have been different

had counsel discovered the evidence in question. See Russell v. Lynaugh, 892 F.2d 1205, 1213

(5th Cir. 1989) (finding no ineffective assistance “[g]iven the weakness of such testimony when

juxtaposed with the overwhelming evidence of guilt, the horrifying nature of the crime, and the

abundant impeachment material available to the State”). Petitioner was therefore not prejudiced

by counsels’ allegedly deficient mitigation investigation.

       In summary, Petitioner contends that counsel deficiently implemented their own strategy

of showing that Petitioner’s lack of impulse control was not his fault but rather the result of an

unstable and unfortunate upbringing. But “[t]he defense of a criminal case is not an undertaking

in which everything not prohibited is required. Nor does it contemplate the employment of wholly

unlimited time and resources.” Smith v. Collins, 977 F.2d 951, 960 (5th Cir. 1992). Although it

is possible, in hindsight, to speculate that counsel could have investigated more, hired different

experts, or presented more mitigating witnesses, this Court is “particularly wary of arguments that

essentially come down to a matter of degrees. Did counsel investigate enough? Did counsel

present enough mitigating evidence? Those questions are even less susceptible to judicial second-



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guessing.” Skinner v. Quarterman, 576 F.3d 214, 220 (5th Cir. 2009) (quoting Dowthitt v.

Johnson, 230 F.3d 733, 743 (5th Cir. 2000)) (internal quotation marks omitted).

       Here, the objective evidence present in the record demonstrates counsel conducted a broad

investigation into Petitioner’s background and presented a thorough case for mitigation. Petitioner

provides little persuasive evidence to the contrary, and the evidence he has presented is, for the

most part, cumulative of the evidence already adduced at trial. Moreover, Petitioner’s evidence

does not come close to outweighing the substantial evidence presented by the State regarding the

brutal murder of Mel Cotton and Petitioner’s history of violence. See Busby, 925 F.3d at 726

(finding evidence “of the same genre as that presented to the jury at trial” could not outweigh the

State’s “overwhelming” evidence of future dangerousness) (citing Newbury v. Stephens, 756 F.3d

850, 873-74 (5th Cir. 2014)). Petitioner thus fails to demonstrate either deficient performance or

prejudice as required under Strickland, rendering Petitioner’s allegation without merit.

       4.      Tasha Lass (Claim 5)

       In his fifth claim for relief, Petitioner faults counsel for failing to thoroughly investigate

Travis County Deputy Tasha Lass prior to calling her as a witness during the guilt/innocence phase.

Lass testified briefly for the defense for the limited purpose of showing that inmates did not have

much privacy in their jail cells, thus suggesting Petitioner’s cellmate could have learned details

about the murder from reading Petitioner’s case files as opposed to hearing him confess. Later,

Lass testified for the State at the punishment phase regarding her inappropriate relationship with

Petitioner, smuggling Petitioner a cell phone, and Petitioner’s attempt to involve her in an elaborate

plan to escape jail by shooting his way out. Had counsel conducted a proper investigation,

Petitioner argues, they could have foreseen the risk of calling Lass as a witness and apparently

prevented her damaging punishment-phase testimony.



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         Rather unexpectedly, Petitioner urges this Court to find that the claim is “essentially”

unexhausted and thus procedurally defaulted even though it was raised both on direct appeal and

during Petitioner’s state habeas proceeding. Citing certain factual allegations 15 that were not

included in his state court briefing, Petitioner contends the claim is now fundamentally different

than the claim presented to the state courts and should not be evaluated under the AEDPA’s

deferential standard. Instead, the claim should be reviewed de novo because of state habeas

counsel’s failure to fully develop the claim, which Petitioner contends should constitute cause to

excuse the procedural default under Martinez v. Ryan, 566 U.S. 1 (2012). After reviewing

Petitioner’s new allegations, however, it is clear they do not “fundamentally alter” his claim, but

“merely provide[] additional evidentiary support for his claim that was already presented and

adjudicated in the state court proceedings.” Escamilla v. Stephens, 749 F.3d 380, 395 (5th Cir.

2014). Thus, Martinez is inapplicable, and Petitioner must overcome the deference afforded to

state court decisions. He fails to make this showing. 16

         For example, Petitioner has not demonstrated counsel were deficient in their performance.

“[C]ounsel has a duty to make a reasonable investigation of defendant’s case or to make a

reasonable decision that a particular investigation is unnecessary.” Ransom, 126 F.3d at 723

(citing Strickland, 466 U.S. at 691). But in reviewing such claims, it is important to remember

that counsel’s performance need not be optimal to be reasonable. Richter, 562 U.S. at 104;

Yarborough v. Gentry, 540 U.S. 1, 8 (2003) (per curiam) (finding a defendant is entitled to



15
         Specifically, these allegations assert that (1) Lass’s testimony at guilt/innocence was unnecessary and could
have been developed simply by cross-examining Petitioner’s former cellmate, (2) Lass was not even a guard at the
Del Valle Jail where Petitioner and his cellmate were held; and (3) counsel should have been suspicious given
Petitioner’s past history of inappropriate relationships with jailers.
16
         Even assuming the claim is procedurally defaulted, Petitioner cannot establish cause to excuse the default
because Petitioner’s allegation is insubstantial. See Martinez, 566 U.S. at 14 (finding an IATC claim must be “a
substantial one” in order to excuse a procedural default).

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“reasonable competence, not perfect advocacy.”). “Just as there is no expectation that competent

counsel will be a flawless strategist or tactician, an attorney may not be faulted for a reasonable

miscalculation or lack of foresight or for failing to prepare for what appear to be remote

possibilities.” Richter, 562 U.S. at 110. For this reason, every effort must be made to eliminate

the “distorting effects of hindsight.” Strickland, 466 U.S. at 689.

       Petitioner’s allegation that counsel should have thoroughly investigated Deputy Lass only

makes sense through the benefit of hindsight. At the time of Lass’s guilt/innocence testimony,

counsel had no reason to investigate a law enforcement officer or suspect there was an illicit

relationship between the two. While Petitioner cites as “red flags” a previous affair with another

jailer, in addition to the fact that Lass testified in civilian clothing without a subpoena, none of

these facts—individually or taken as a whole—would indicate Petitioner was carrying on an

improper relationship with Lass and trying to involve her in a potentially violent escape plan. In

fact, given that the only two people who ever knew about the affair were Petitioner and Lass,

discovering evidence of this relationship was the remotest of possibilities. This was confirmed at

the punishment phase when, after being granted a short continuance to investigate these matters,

counsel failed to discover anything in Lass’s background as a decorated law enforcement officer

that would have warranted hesitation in calling her as a witness. II SCHR at 487-91 (affidavits of

Kent Anschutz and Paul Quinzi).

       Moreover, whether an investigation is reasonable depends, in part, on the information

provided by the defendant. See Sonnier v. Quarterman, 476 F.3d 349, 362 (5th Cir. 2007) (holding

that a criminal defendant cannot block his attorney’s efforts and later claim that the resulting

performance was constitutionally deficient); Ransom, 126 F.3d at 723 (holding that whether or not

counsel’s investigation is reasonable may critically depend on the information provided by the



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defendant and the defendant’s own strategic choices concerning his representation). Here, the only

person with knowledge of the risks involved in calling Lass as a witness was Petitioner himself.

Despite this fact, Petitioner not only failed to disclose his relationship with Lass to counsel, he

insisted on calling her as a witness against counsels’ advice. Supp. SHCR at 6-7 (affidavit of

Leonard Martinez); II SCHR at 487-91 (affidavits of Kent Anschutz and Paul Quinzi).

       As a result, trial counsel cannot be deemed ineffective for not discovering information that

Petitioner could have, but did not, disclose. See Blanton v. Quarterman, 543 F.3d 230, 239 (5th

Cir. 2008) (trial counsel could not have uncovered evidence where neither petitioner nor his family

mentioned it); Soria v. Johnson, 207 F.3d 232, 250-51 (5th Cir. 2000) (no deficient performance

where, despite encouragement, petitioner and family failed to reveal evidence of past behavior and

family). Indeed, it appears this Court is being asked to find counsel deficient “on the ground that

his lawyer[s] did exactly what he asked [them] to do. That argument answers itself.” United States

v. Masat, 896 F.2d 88, 92 (5th Cir. 1990).

       Aside from deficient performance, Petitioner also fails to demonstrate prejudice under

Strickland. The record indicates that, even if counsel had pursued an investigation into Lass,

Petitioner cannot show that the results of such an investigation would have been fruitful. As

counsel stated in their affidavits to the state habeas court, they were unable to find anything

suspicious in Lass’s background even after her punishment phase testimony admitting to a

relationship with Petitioner. II SCHR at 487-91. Further, it was not counsels’ lack of preparation

or even their presentation of Lass as a witness at the guilt/innocent phase that led to the eventual

discovery of a relationship—it was Lass’s repeated appearance at the trial “just to see what was

going on.” Id. at 488. As such, it was likely the State would have discovered the relationship even

if Lass did not testify at guilt/innocence.



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         Regardless, Petitioner does not demonstrate a “reasonable probability” that the result of the

punishment phase of a trial would have been different had counsel somehow prevented Lass’s

secrets from being discovered. Wong, 558 U.S. at 27. “[A] court assessing prejudice must consider

the totality of the evidence before the judge or jury.” Mejia, 906 F.3d at 315 (quoting Strickland,

466 U.S. at 696) (internal quotation marks omitted).                      While Lass’s testimony concerning

Petitioner’s escape plan was undoubtably damaging, there was still a substantial amount of

evidence presented to the jury concerning Petitioner’s potential for future danger, including the

murder of Mel Cotton and Petitioner’s life-long tendency for violence and inability to control his

anger.        See Section IV(B)(3), supra.             Where the evidence of future dangerousness is

overwhelming, it is virtually impossible to establish Strickland prejudice. Ladd, 311 F.3d at 360.

As such, Petitioner fails to establish either prong of the Strickland inquiry, and relief is denied.

         5.       Motion for New Trial (Claim 6)

         Petitioner next contends trial counsel were ineffective for failing to investigate and pursue

a motion for new trial. Had lead trial counsel not abandoned him at this critical stage, Petitioner

argues, he could have investigated and presented the testimony of Jason Gibson that was the

subject of his first and second claims for relief. In her answer, Respondent points out that this

allegation was not exhausted in state court and is therefore procedurally barred from federal habeas

review. 17 Acknowledging this dilemma, Petitioner again cites Martinez v. Ryan and asks this

Court to excuse the procedural bar due to ineffective assistance of state habeas counsel.


17
          Respondent also contends the allegation is barred by the non-retroactivity rule of Teague v. Lane, 489 U.S.
288 (1989). Under Teague, federal courts are generally barred from applying “new” constitutional rules of criminal
procedure retroactively on collateral review. According to Respondent, Petitioner seeks to apply a new rule because
there is no clearly established right to counsel at the motion-for-new-trial phase. But as Petitioner correctly points out
in his Reply, “every federal circuit to consider this issue, as well as the [TCCA], has relied on settled Supreme Court
precedent in determining that the motion for new trial, during the post-trial, pre-appeal period, is a critical stage”
warranting the right to counsel. See McAfee v. Thaler, 630 F.3d 383, 393 (5th Cir. 2011) (finding the right to the
assistance of counsel at the motion-for-new-trial phase in Texas). Respondent’s argument is thus unpersuasive.


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       Petitioner fails to establish that Martinez should apply. Even when reviewed under a de

novo standard, Petitioner’s underlying IATC allegation lacks merit.

               a.      Procedural Default

       The AEDPA requires that a prisoner exhaust his available State remedies before raising a

claim in a federal habeas petition. See 28 U.S.C. § 2254(b)(1)(A) (stating that habeas corpus relief

may not be granted “unless it appears that . . . the applicant has exhausted the remedies available

in the courts of the State.”). The exhaustion requirement is satisfied if the substance of the federal

habeas claim was presented to the highest state court in a procedurally proper manner. Baldwin v.

Reese, 541 U.S. 27, 29-32 (2004); Moore v. Cain, 298 F.3d 361, 364 (5th Cir. 2002). In Texas,

the highest state court for criminal matters is the TCCA. Whitehead v. Johnson, 157 F.3d 384, 387

(5th Cir. 1998).

       Petitioner readily admits he did not raise the instant claim in the TCCA. As such, the claim

is unexhausted. Martinez v. Johnson, 255 F.3d 229, 238 (5th Cir. 2001). But if Petitioner were to

return to state court to satisfy the exhaustion requirement only to have the state court procedurally

bar the claim under state law, the unexhausted claim would also be considered procedurally barred

from federal habeas review. See Keeney v. Tamayo-Reyes, 504 U.S. 1, 9-10 (1992) (holding an

unexhausted claim is procedurally defaulted for federal habeas purposes if the claim would now

be procedurally barred by state court); Coleman v. Thompson, 501 U.S. 722, 735 n.1 (1991) (same).

       In this case, Petitioner is unable to return to state court to present his unexhausted claim

because doing so would be barred by Texas’ abuse of the writ doctrine codified in Article 11.071,

Section 5(a) of the Texas Code of Criminal Procedure. Fuller v. Johnson, 158 F.3d 903, 906 (5th

Cir. 1998). The Fifth Circuit has consistently held that Texas’ abuse of the writ doctrine is an

independent and adequate state procedural bar foreclosing federal habeas review of unexhausted



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claims. See Williams v. Thaler, 602 F.3d 291, 305-06 (5th Cir. 2010) (holding a petitioner’s claims

were procedurally defaulted because if the petitioner returned to state court, the court would not

consider the merits under Article 11.071, § 5(a)); Rocha v. Thaler, 626 F.3d 815, 832 (5th Cir.

2010); Beazley v. Johnson, 242 F.3d 248, 264 (5th Cir. 2001). As a result, Petitioner’s unexhausted

claim is procedurally defaulted in federal court. O’Sullivan v. Boerckel, 526 U.S. 838, 848 (1999);

Bagwell v. Dretke, 372 F.3d 748, 755 (5th Cir. 2004).

        Federal habeas relief based on a procedurally defaulted claim is barred unless the petitioner

can demonstrate cause for the default and actual prejudice arising from the default or demonstrate

the failure to consider the claim will result in a fundamental miscarriage of justice. Coleman, 501

U.S. at 750; Barrientes v. Johnson, 221 F.3d 741, 758 (5th Cir. 2000). Petitioner makes no attempt

to show a “fundamental miscarriage of justice” will result from the Court’s dismissal of these

claims. Instead, Petitioner contends the ineffectiveness of his post-conviction counsel constitutes

cause to overcome the procedural bar under Martinez. As discussed below, Petitioner fails to make

this showing.

                b.     Martinez Analysis

        Prior to Martinez, an attorney’s negligence in a postconviction proceeding could not serve

as “cause” to excuse the procedural default of claims in federal court. Coleman, 501 U.S. at 755.

In Martinez, the Supreme Court carved out a “narrow” exception to the Coleman rule for IATC

claims. Trevino v. Thaler, 569 U.S. 413, 422 (2013). Now, a petitioner may meet the cause

element by showing (1) “that habeas counsel was ineffective in failing to present those claims in

his first state habeas proceeding” and (2) “that his [IATC claim] is substantial—i.e., has some

merit.” Garza v. Stephens, 738 F.3d 669, 676 (5th Cir. 2013). Neither of these prongs are satisfied

in this case.



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       To start, Petitioner fails to establish that his state habeas counsel, John Stickels, rendered

ineffective assistance during Petitioner’s state habeas proceedings. Petitioner contends Stickels’s

inadequacies stem from his failure to raise an IATC claim concerning trial counsel’s failure to file

a motion for new trial. According to Petitioner, trial counsel should have investigated and

presented the testimony of Jason Gibson in a motion for new trial but failed to do so due to

bickering between trial counsel and Petitioner’s counsel on direct appeal. But while Stickels did

not specifically challenge trial counsel’s performance at the motion-for-new-trial phase, he did

raise an actual-innocence claim and a general IATC claim based on the affidavit provided by

Gibson. Because both allegations were rejected by the state habeas court, Stickels can hardly be

faulted for raising essentially the same allegation in another, slightly altered form. See Sones v.

Hargett, 61 F.3d 410, 415 n.5 (5th Cir. 1995) (finding “[c]ounsel cannot be deficient for failing to

press a frivolous point.”); Barbee v. Davis, 660 F. App’x. 293, 314 (5th Cir. 2016) (unpublished)

(finding no prejudice if there is no “reasonable probability that [Petitioner] would have been

granted state habeas relief had the claims been presented in the first state habeas application.”).

       Petitioner also fails to demonstrate that his underlying IATC claim “is a substantial one.”

Martinez, 566 U.S. at 14 (citing Miller–El v. Cockrell, 537 U.S. 322 (2003)). “For a claim to be

‘substantial,’ a petitioner ‘must demonstrate that the claim has some merit.’” Reed v. Stephens,

739 F.3d 753, 774 (5th Cir. 2014) (quoting Martinez, 566 U.S. at 14).               “Conversely, an

‘insubstantial’ ineffective assistance claim is one that ‘does not have any merit’ or that is ‘wholly

without factual support.’” Reed, 739 F.3d at 774 (quoting Martinez, 566 U.S. at 15-16). Again,

allegations of ineffective assistance are reviewed under Strickland’s familiar two-prong test

requiring a demonstration of deficient performance and prejudice. 466 U.S. at 687-88, 690.




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       In order to demonstrate a substantial claim, Petitioner must show that counsel’s decision

not to move for a new trial was objectively unreasonable as a matter of strategy. McAfee, 630 F.3d

at 394. But this Court’s judicial scrutiny of counsel’s performance under Strickland must be

“highly deferential,” indulging in a “strong presumption” that “trial counsel rendered adequate

assistance and that the challenged conduct was the product of a reasoned trial strategy.” Id. (citing

West v. Johnson, 92 F.3d 1385, 1400, 1409 (5th Cir. 1996)). Indeed, trial counsel has broad

discretion when it comes to deciding how best to proceed strategically. See Ward v. Stephens, 777

F.3d 250, 264 (5th Cir. 2015) (the Supreme Court has emphasized counsel has “wide latitude in

deciding how best to represent a client”) (quoting Yarbrough, 540 U.S. at 5-6).

       Here, the record suggests that trial counsel did not file a motion for new trial because of

his belief that the habeas process was a better forum for challenging the conviction. I SHCR at

196 (indicating counsel consulted with capital litigation experts before making this decision). This

strategy is reasonable, particularly given the Supreme Court’s similar position on the matter. See

Trevino, 569 U.S. at 424 (stating the motion-for-new-trial vehicle in Texas “is often inadequate

because of time constraints and because the trial record has generally not been transcribed at this

point.”) (citation omitted); see also Ex parte Torres, 943 S.W.2d 469, 475 (Tex. Crim. App. 1997)

(finding that habeas proceedings, rather than a motion for new trial, are the preferred method for

gathering facts necessary for an IATC challenge).

       Furthermore, although no motion for new trial was filed on his behalf, Petitioner does not

propose any claim that would have been successful had one been filed. In fact, the only claim

Petitioner does mention is the general allegation concerning counsel’s overall failure to discover

Jason Gibson, a claim this Court has already found to lack merit. See Section IV(B)(2), supra. In

order for Petitioner to prevail on the more specific claim that counsel should have presented



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Gibson’s affidavit in a motion for new trial, he must show a reasonable probability that, had

counsel moved for a new trial, the trial court would have granted the motion. McAfee, 630 F.3d at

395. Given that the trial court later rejected Petitioner’s general IATC claims concerning Gibson

during Petitioner’s state habeas proceeding, Petitioner cannot make this showing.

       Consequently, Petitioner has neither established a substantial IATC allegation nor

demonstrated that his state habeas counsel rendered ineffective assistance for failing to raise the

claim during Petitioner’s state habeas proceedings. For this reason, Petitioner fails to establish

cause under Martinez that would excuse his unexhausted IATC claims from being procedurally

defaulted. Petitioner is thus barred from receiving federal habeas relief on these allegations.

Alternatively, even if the Court were to look past the procedural default and review the claim de

novo, relief would be denied because the claim lacks merit.

       6.      Petitioner’s Decision to Testify (Claim 15)

       In his last IATC claim, Petitioner faults his lead counsel, Leonard Martinez, for expressing

in front of the jury his disagreement with Petitioner’s decision to testify. According to Petitioner,

counsel’s comment that he “doesn’t necessarily agree” with Petitioner’s choice served no purpose

and undermined Petitioner’s right to testify on his own behalf. The TCCA disagreed, finding on

direct appeal that counsel’s decision to inform the jury of his disagreement with Petitioner was a

reasonable strategy designed to emphasize how strongly his client felt about testifying and making

a sincere personal plea for mercy. Gobert, 2011 WL 5881601, at *11-12. This decision was not

an unreasonable application of Strickland.

       Toward the end of the punishment phase, counsel informed the trial court of Petitioner’s

insistence on exercising his right to testify. 38 RR 38-39. All three of Petitioner’s attorneys

strenuously disagreed with Petitioner’s decision and registered their opposition on the record



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outside the presence of the jury. Id. at 38-39, 113. Once Petitioner’s direct examination began,

Martinez reiterated to the jury his disagreement with Petitioner’s decision and explained his

concern about subjecting his client to a “dehumanizing” cross-examination:

       Martinez:       Mr. Gobert, you asked—you asked to address this jury, is that
                       correct?

       Petitioner:     Yes, sir.

       Martinez:       Let me just go through some ground rules with you, okay, because
                       you and I don’t necessarily agree with this, correct? Is that right?

       Petitioner:     Yes, sir, we don’t agree.

       Martinez:       And you know that I have concerns that because you are taking the
                       witness stand they are going to be able to question you about
                       everything and try to make you look bad. You saw what happens
                       on that witness stand to witnesses. You know what happens to them,
                       don’t you?

       Petitioner:     Yeah. It is not a concern, though, to me.

       Martinez:       Okay. But you wanted to address this jury and make a plea for your
                       life, didn’t you?

       Petitioner:     Yes, sir.

       Martinez:       Even though in making that plea for your life, now they are going to
                       put you under intense cross-examination to dehumanize you. Do
                       you know that?

       Petitioner:     Well, they did—done a lot of dehumanizing, yes, sir. I’m not
                       concerned with that.

Id. at 41-42.

       Petitioner was the last person to testify at his trial. At closing argument, Martinez

continued to emphasize Petitioner’s strong desire to take the stand to plead for mercy despite facing

a brutal cross-examination. He began by reiterating that Petitioner “wanted his opportunity to

come up here and basically ask each one of you, don’t take my life.” Id. at 246-47. Martinez then

concluded his impassioned closing argument by asking the jury to spare Petitioner’s life:

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        I am pleading with you. He pleaded with you. He said, spare my life, spare my
        life. I am saying, please, spare his life if for no other reason than we should value
        life, affirm life, because he is not escaping punishment. He will be punished
        severely. That’s all I’m asking. Just spare his life. Thank you.

Id. at 264.

        Petitioner contends that Martinez’s comment to the jury that he disagreed with Petitioner’s

choice to testify served no purpose and made Petitioner “look like a fool” for exercising his

constitutional right. But counsel “has wide latitude in deciding how best to represent a client. . .”

Yarborough, 540 U.S. at 5-6, 8 (“When counsel focuses on some issues to the exclusion of others,

there is a strong presumption that he did so for tactical reasons rather than through sheer neglect.”).

For this reason, “[a] conscious and informed decision on trial tactics and strategy cannot be the

basis for constitutionally ineffective assistance of counsel unless it is so ill chosen that it permeates

the entire trial with obvious unfairness.” Cotton, 343 F.3d at 752-53. This makes an attorney’s

choice of defense and his strategy in arguing that defense to a jury “virtually unchallengeable.”

Strickland, 466 U.S. at 690; Trottie, 720 F.3d at 243 (holding the failure to present a particular line

of argument is presumed to be the result of strategic choice).

        Here, the record clearly indicates Martinez’s decision to inform the jury of his

disagreement with Petitioner was strategic: “he was framing [Petitioner]’s decision to testify and

plead for his life as something [Petitioner] felt so strongly about that he was willing to risk the

consequences of a merciless cross-examination.” Gobert, 2011 WL 5881601, at *12. In other

words, counsel was simply emphasizing his client’s strong desire to face the jury and make a plea

for mercy. There is nothing objectively unreasonable with this strategy, and Petitioner fails to cite

a single case where counsel, under similar facts, was found to be ineffective. Thus, because

counsel’s comment on Petitioner’s decision testify was strategic and imminently reasonable,

Petitioner fails to establish the deficient-performance prong of an ineffective assistance claim. See


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Clark v. Thaler, 673 F.3d 410, 427 (5th Cir. 2012) (recognizing the broad deference to which

counsel is entitled in making tactical decisions in closing argument).

       With regard to prejudice, Petitioner makes only the single, cursory statement that there is

“no doubt” counsel’s conduct had an adverse effect on the outcome of Petitioner’s trial. But such

conclusory assertions of prejudice are insufficient to support a claim for ineffective assistance of

counsel. Woodfox v. Cain, 609 F.3d 774, 809 n.17 (5th Cir. 2010); Day, 566 F.3d at 540.

Moreover, given that counsel only briefly mentioned his disagreement with Petitioner at the

beginning of Petitioner’s testimony and never mentioned it again, this Court is highly doubtful of

any prejudicial impact the statement may have had. This is particularly so given the overwhelming

evidence presented against Petitioner at the punishment phase. See Section IV(B)(3), supra.

       This Court therefore concludes that Petitioner failed to show that counsel’s performance

was deficient or prejudicial, much less that the state court’s denial of this claim was unreasonable

application of Strickland. Accordingly, viewed through the “doubly” deferential lens of the

AEDPA, relief is unavailable.

C.     Appellate Counsel (Claim 4)

       In his fourth claim for relief, Petitioner alleges that his direct appeal attorney was

ineffective because she failed to challenge the admission of the following evidence: (1) testimony

from a paramedic, Bryan Mason, that Demitrius Cotton’s wounds were consistent with someone

trying to kill him; (2) testimony from Detective Eric De Los Santos that Demitrius told him the

person who stabbed his mother “took all my mama’s purse and money;” and (3) a video showing

Demitrius’s physical condition while in the hospital. These allegations concerning appellate

counsel were rejected by the state court during Petitioner’s state habeas proceedings. Supp. SHCR




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at 162-64.   Petitioner has not shown this rejection on the merits to be contrary to, or an

unreasonable application of, the relevant Strickland standard.

       1.      The Strickland Standard Governs

       The same two-pronged standard set out in Strickland to prove that counsel rendered

unconstitutionally ineffective assistance applies equally to both trial and appellate attorneys. Smith

v. Robbins, 528 U.S. 259, 285 (2000); Dorsey v. Stephens, 720 F.3d 309, 319 (5th Cir. 2013).

Thus, the standard for evaluating the performance of counsel on appeal requires inquiry into (1)

whether appellate counsel’s conduct was objectively unreasonable under then-current legal

standards, and (2) whether there is a reasonable probability that, but for appellate counsel’s

deficient performance, the outcome of Petitioner’s appeal would have been different. Robbins,

528 U.S. at 285; Higgins v. Cain, 720 F.3d 255, 260-61 (5th Cir. 2015). Appellate counsel who

files a merits brief need not, and should not, raise every non-frivolous claim. Robbins, 528 U.S.

at 288; Jones v. Barnes, 463 U.S. 745, 751 (1983). Only solid, meritorious arguments based on

directly controlling precedent should be raised on direct appeal. Schaetzle v. Cockrell, 343 F.3d

440, 445 (5th Cir. 2003). Nonetheless, appellate counsel is obligated to research relevant facts and

law or to make an informed decision that certain avenues will not prove fruitful. See Busby v.

Dretke, 359 F.3d 708, 714 (5th Cir. 2004); United States v. Reinhart, 357 F.3d 521, 525 (5th Cir.

2004). The process of winnowing out weaker arguments on appeal and focusing on those more

likely to prevail is the hallmark of effective appellate advocacy. Smith v. Murray, 477 U.S. 527,

536 (1986); Barnes, 463 U.S. at 751–52.

       2.      Bryan Mason and the Video of Demitrius

       Petitioner first contends his appellate counsel was ineffective for failing to challenge a

portion of the testimony given by Bryan Mason, one of the paramedics who arrived first at the



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scene of Mel Cotton’s murder. After determining Ms. Cotton was deceased, Mason turned his

attention to five-year old Demitrius Cotton, who had sustained several deep stab wounds to his

chest. 26 RR 70-89. Mason described Demitrius’s injuries and condition to the jury and explained

how he treated Demitrius before sending him to the hospital. Id. At the end of his direct testimony,

Mason was asked, “[b]ased on the injuries to this child that you observed, in your opinion, did it

seem to be consistent with someone who was trying to kill him?” Id. at 87. Mason responded,

“Absolutely.” Id. at 88.

       Defense counsel objected on the basis that the question calls for speculation and is outside

of Mason’s area of expertise, but the objection was overruled. Id. Petitioner now contends that

this testimony was erroneously admitted in violation of Texas law and argues that his appellate

counsel should have challenged the trial court’s ruling on direct appeal. This allegation was raised

during Petitioner’s state habeas proceedings where it was determined that appellate counsel was

not ineffective because the challenged testimony was admissible under the Texas Rules of

Evidence. Supp. SHCR at 162. Because the state habeas court determined that Mason’s testimony

was permissible under state law, this Court may not conclude otherwise. See Charles v. Thaler,

629 F.3d 494, 500-01 (5th Cir. 2011) (stating that “[a] federal court lacks authority to rule that a

state court incorrectly interpreted its own law. When, as here, a state court’s legal conclusions are

affirmed by the highest court in that state, those conclusions are state law.”); Young v. Dretke, 356

F.3d 616, 628 (5th Cir. 2004) (declining to review the state habeas court’s determination of the

validity of a Texas statute under the Texas constitution in the context of a Strickland claim).

Indeed, it is not this Court’s function to review a state’s interpretation of its own law. Bradshaw

v. Richey, 546 U.S. 74 (2005) (“We have repeatedly held that a state court’s interpretation of state

law . . . binds a federal court sitting in habeas corpus.”); Schaetzle, 343 F.3d at 448-49 (“It is not



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our function as a federal appellate court in a habeas proceeding to review a state’s interpretation

of its own law, and we defer to the state courts’ interpretation of the Texas . . . statute.”) (citation

omitted).

        Petitioner’s allegation concerning the video of Demitrius meets the same fate. At the

guilt/innocence phase of trial, the State introduced a silent video showing Demitrius’s physical

condition when he was being interviewed at the hospital. 26 RR 159-61. Trial counsel objected

to the video based on relevance and the potential for undue prejudice, but the objection was

overruled after counsel waived the objection upon realizing the video had no sound. Id. Petitioner

now alleges the admission of the video violated Rules 401 and 403 of the Texas Rules of Evidence

and argues appellate counsel should have challenged the trial court’s ruling on direct appeal. This

allegation was also rejected during Petitioner’s state habeas proceedings after the state court found

the video admissible under Texas law as same transactional contextual evidence. Supp. SHCR at

163. Because the state habeas court held the video of Demitrius was admissible under Texas law,

this Court simply “cannot review the correctness of the state habeas court’s interpretation of state

law.” Amador v. Quarterman, 458 F.3d 397, 412 (5th Cir. 2006) (citing Young, 356 F.3d at 628).

        3.      Detective De Los Santos

        Homicide detective Eric De Los Santos was the first to interview Demitrius when he was

taken to the hospital. Prior to Detective De Los Santos testifying about what Demitrius told him,

trial counsel objected to the testimony as violating the Confrontation Clause pursuant to Crawford

v. Washington, 541 U.S. 36 (2004). The trial court overruled the objection after a lengthy

discussion outside the presence of the jury. 26 RR 145-56. Following this ruling, Detective De

Los Santos testified that Demitrius told him the man who stabbed his mother “took my mama’s

purse and money.” Id. at 157.



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       Petitioner now contends the trial court’s ruling was erroneous and that his appellate counsel

was ineffective for failing to challenge the ruling on direct appeal. According to Petitioner, out-

of-court statements like Demitrius’s are “testimonial” and thus impermissible under Crawford as

evidence against the accused. Indeed, a witness’s testimony against a defendant is inadmissible

under Crawford “unless the witness appears at trial or, if the witness is unavailable, the defendant

had a prior opportunity for cross-examination.” Melendez-Diaz v. Massachusetts, 557 U.S. 305,

309 (2009) (citing Crawford, 541 U.S. at 54). As found by the state habeas court during

Petitioner’s state habeas proceedings, however, no such Confrontation Clause issue existed in this

case because Demitrius was available and indeed did testify at this trial. Supp. SHCR at 163; see

28 RR 179-234. As such, appellate counsel cannot be faulted for raising what would have

amounted to a frivolous Crawford allegation. Barnes, 463 U.S. at 751-52 (“Experienced advocates

since time beyond memory have emphasized the importance of winnowing out weaker arguments

on appeal and focusing on one central issue if possible, or at most on a few key issues.”); Schaetzle,

343 F.3d at 445 (holding that only solid, meritorious arguments based on directly controlling

precedent should be raised on direct appeal).

       In summary, Petitioner’s allegations concerning appellate counsel were rejected by the

state court during his state habeas proceedings, and Petitioner has not shown this rejection on the

merits to be contrary to, or an unreasonable application of, the Strickland standard. See Richter,

562 U.S. at 101. Federal habeas relief is therefore denied.

D.     The Special Issues (Claims 7-11, 14)

       Petitioner next raises several challenges to Texas’s death penalty system, arguing he was

sentenced to death under an unconstitutional statutory scheme. As discussed below, each of these




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allegations is either procedurally barred, foreclosed by clear Supreme Court and Fifth Circuit

precedent, or foreclosed by the non-retroactivity principle of Teague v. Lane, 489 U.S. 288 (1989).

         1.      Special Issue Number One (Claim 7)

         Under Texas’s capital sentencing statute, the jury must answer two “special issues” before

a sentence of death may be assessed. See Tex. Code. Crim. Proc. art. 37.071 § 2(b). Under the

first special issue, the jury must decide “whether there is a probability that the defendant would

commit criminal acts of violence that would constitute a continuing threat to society.” Id.

Petitioner contends this first special issue—the future-dangerousness special issue—is

unconstitutionally vague because it does not define such terms as “probability,” “criminal acts of

violence,” and “continuing threat to society.” As a result, Petitioner argues, the statute neither

adequately channels the jury’s discretion nor narrows the class of defendants sentenced to death.

This allegation fails for two reasons.

         First, Petitioner did not present this claim to the TCCA for review either on direct appeal

or during his state habeas proceedings. 18 Nor does he attempt to demonstrate cause and prejudice

for his failure to raise these claims in state court or argue that a denial of the claim will result in a

“fundamental miscarriage of justice.” Coleman v. Thompson, 501 U.S. at 750-51. As such,

Petitioner is procedurally barred from federal habeas relief on this claim. See Section IV(B)(5),

supra.

         Second, Petitioner’s allegation is “far from novel.” Green v. Johnson, 160 F.3d 1029, 1043

(5th Cir. 1998). The Fifth Circuit has consistently upheld the future-dangerousness special issue

against challenges to the phrases “probability,” “criminal acts of violence,” and “continuing threat


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         Although Petitioner contends the claim was presented as Claims 6 and 8 in his state habeas application, the
record demonstrates that these allegations both concern the sufficiency of the evidence and not the future
dangerousness special issue. Indeed, the instant allegation is wholly unrelated to the state habeas claims cited by
Petitioner.

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to society.” See Sprouse v. Stephens, 748 F.3d 609, 622 (5th Cir. 2014); Turner v. Quarterman,

481 F.3d 292, 299-300 (5th Cir. 2007); Leal v. Dretke, 428 F.3d 543, 553 (5th Cir. 2005); Hughes

v. Johnson, 191 F.3d 607, 615 (5th Cir. 1999). The terms “have a plain meaning of sufficient

content that the discretion left to the jury is no more than that inherent in the jury system itself.”

Paredes v. Quarterman, 574 F.3d 281, 294 (5th Cir. 2009). Because Petitioner’s allegation

concerning the terms used in the future-dangerousness special issue lacks merit in light of clearly

established federal law, relief is denied.

       2.      Special Issue Number Two (Claims 8-11)

       Under Texas’s second special issue—the mitigation special issue—Petitioner’s jury was

required to determine “[w]hether, taking into consideration all of the evidence, including the

circumstances of the offense, the defendant’s character and background, and the personal moral

culpability of the defendant, there is a sufficient mitigating circumstance or circumstances to

warrant that a sentence of life imprisonment . . . rather than a death sentence be imposed.” Tex.

Code. Crim. Proc. art. 37.071 § 2(e). Petitioner challenges the constitutionality of this special

issue for three reasons: (1) the statute fails to require the jury to make its findings beyond a

reasonable doubt and places the burden of proof onto Petitioner instead of the State, (2) the statute

lacks minimal standards and sends “mixed signals” to the jury, and (3) the accompanying “12-10

Rule” that instructs the jury that ten or more jurors must agree to assess a life sentence is confusing

and creates an unnecessary risk of jury coercion.

               a.      Procedural Default

       Under the procedural default doctrine, this Court is precluded from reviewing “claims that

the state court denied based on an adequate and independent state procedural rule.” Davila v.

Davis, 137 S. Ct. 2058, 2064 (2017); Canales v. Stephens, 765 F.3d 551, 562 (5th Cir. 2014) (citing



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Maples v. Thomas, 565 U.S. 266, 280 (2012)). The “independent” and “adequate” requirements

are satisfied where the court clearly indicates that its dismissal of a particular claim rests upon a

state ground that bars relief, and that bar is strictly and regularly followed by the state courts.

Roberts v. Thaler, 681 F.3d 597, 604 (5th Cir. 2012) (citing Finley v. Johnson, 243 F.3d 215, 218

(5th Cir. 2001)). This doctrine ensures that federal courts give proper respect to state procedural

rules. Coleman, 501 U.S. at 750-51. The application of an independent and adequate state

procedural bar must be honored even if the state court has, in the alternative, reached the merits of

the claim. Harris v. Reed, 489 U.S. 264 n.10 (1989).

       During Petitioner’s state habeas proceedings, the state trial court rejected each of these

allegations as procedurally barred because Petitioner could have raised the claims on direct

appeal. 19 Supp. SHCR at 167-68 (citing Ex parte Nelson, 137 S.W.3d 666, 667 (Tex. Crim. App.

2004)). The state court cited Nelson, a case which in turn relies on Ex parte Gardner, 959 S.W.2d

189, 199 (Tex. Crim. App. 1998). The rule from Gardner—which bars consideration of claims

that could have been but were not raised on direct appeal—is “an adequate state ground capable

of barring federal habeas review.” Aguilar v. Dretke, 428 F.3d 526, 535 (5th Cir. 2005) (citing

Busby v. Dretke, 359 F.3d 708, 719 (5th Cir. 2004)). Consequently, Petitioner is precluded from

federal habeas review of these claims unless he can show cause for the default and resulting

prejudice, or demonstrate that the Court’s failure to consider his claim will result in a “fundamental

miscarriage of justice.” Coleman, 501 U.S. at 750-51; Busby v. Dretke, 359 F.3d 708, 718 (5th

Cir. 2004). Again, Petitioner fails to make this demonstration. Thus, circuit precedent compels

the denial of the claims as procedurally defaulted.




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       The trial court also reviewed the claims alternatively on the merits and denied relief. Id.

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               b.       The Burden of Proof (Claim 8)

       Regardless of the procedural bar, Petitioner’s claims concerning the mitigation special

issue are meritless. Petitioner first challenges the mitigation special issue because it does not

require the jury to make its finding beyond a reasonable doubt. Citing Ring v. Arizona 20 and

Apprendi v. New Jersey, 21 Petitioner contends the mitigation special issue also encompasses

aggravating circumstances that must be proven beyond a reasonable doubt.              For this reason,

Petitioner asserts the current statutory scheme is unconstitutional for not imposing a burden of

proof on the State to prove these aggravating circumstances to the jury beyond a reasonable doubt.

Petitioner’s allegation is contrary to clearly established Fifth Circuit precedent.

        The Fifth Circuit has “specifically held that the Texas death penalty scheme did not violate

either Apprendi or Ring by failing to require the state to prove beyond a reasonable doubt the

absence of mitigating circumstances.” Allen v. Stephens, 805 F.3d 617, 627-28 (5th Cir. 2015),

abrogated on other grounds by Ayestas v. Davis, 138 S. Ct. 1080 (2018) (citing Scheanette v.

Quarterman, 482 F.3d 815, 828 (5th Cir. 2007)). Indeed, “No Supreme Court or Circuit precedent

constitutionally requires that Texas’s mitigation special issue be assigned a burden of proof.”

Rowell v. Dretke, 398 F.3d 370, 378 (5th Cir. 2005); see also Druery v. Thaler, 647 F.3d 535, 546-

47 (5th Cir. 2011); Blue v. Thaler, 665 F.3d 647, 668-69 (5th Cir. 2011); Avila v. Quarterman, 560

F.3d 299, 315 (5th Cir. 2009). Because the Fifth Circuit has repeatedly rejected Petitioner’s

contention that the Constitution requires that the State be assigned the burden of proof on the

mitigation special issue, federal habeas relief is foreclosed.




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       536 U.S. 584 (2002).
21
       530 U.S. 466 (2000).


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               c.      “Mixed Signals” (Claims 9, 10)

       Petitioner’s next two allegations allege that the mitigation special issue sends “mixed

signals” to the jury by requiring the jury to consider all of the evidence presented while

simultaneously limiting consideration to only evidence that reduces a defendant’s “moral

blameworthiness.” See Tex. Code Crim. Proc. art 37.071, § 2(f)(4). According to Petitioner, the

definition of mitigating evidence found in § 2(f)(4) is unconstitutionally restrictive because it

impermissibly limits the jury’s discretion to consider other types of evidence—including

background and character evidence—that may be mitigating but does not reduce a defendant’s

“moral blameworthiness” for the crime.

       The Fifth Circuit has repeatedly rejected similar arguments. See, e.g., Rockwell v. Davis,

853 F.3d 758, 763 (5th Cir. 2017); Blue, 665 F. 3d at 665-66; Beazley v. Johnson, 242 F.3d 248,

259 (5th Cir. 2001). In Beazley, the Court considered the exact allegation now raised by Petitioner

and held that the post-1991 capital sentencing scheme as currently codified in article 37.071 “does

not unconstitutionally ‘preclude the jury from considering, as a mitigating factor, any aspect of a

defendant's character or record and any of the circumstances of the offense that the defendant

proffers as a basis for a sentence less than death.’” 242 F.3d at 260 (citing Lockett v. Ohio, 438

U.S. 586, 604 (1978)) (emphasis in the original). Citing Beazley some sixteen years later, the

Court bluntly stated that the statute “does not unconstitutionally restrict the mitigating evidence

that Texas juries are allowed to consider.” Rockwell, 853 F.3d at 763. Fifth Circuit precedent thus

clearly forecloses relief on Petitioner’s allegation.

               d.      The 12–10 Rule (Claim 11)

       In his next allegation, Petitioner contends that Texas’s “12-10 Rule” violates the Eighth

and Fourteenth Amendments by misleading jurors about their ability to give effect to mitigating



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circumstances. The “12-10 Rule” requires the jury to be instructed that: (1) the jury shall return

an answer of “yes” or “no”; and (2) the jury may not answer the issue “no” unless it unanimously

agrees and may not answer the issue “yes” unless ten or more jurors agree. See Tex. Code. Crim.

Proc. art. 37.071 § 2(f). Citing Mills v. Maryland, 22 Petitioner contends that this rule confuses

jurors as to the effect of a single negative vote on the special issues and creates a danger that

confused jurors may think their individual beliefs are immaterial unless they can persuade nine

other jurors to think similarly.

       This issue has been foreclosed for some time by the Supreme Court’s decision in Jones v.

United States, 527 U.S. 373, 381-82 (1999). In Jones, the Court explicitly rejected the idea that

the trial court, by neglecting to inform a jury regarding the consequences of its failure to reach a

verdict, “affirmatively mislead[s] [the jury] regarding its role in the sentencing process.” Id. The

Court reasoned that an instruction informing the jury that a life sentence would be imposed if it

could not reach a unanimous verdict had no bearing on the jury’s role in the sentencing process.

Id. Rather, such an instruction “speaks to what happens in the event that the jury is unable to fulfill

its role—when deliberations break down and the jury is unable to produce a unanimous sentence

recommendation.” Id.

       Likewise, the Fifth Circuit has also rejected this claim. “Mills is not applicable to the

capital sentencing scheme in Texas. We have concluded that ‘[u]nder the Texas system, all jurors

can take into account any mitigating circumstance. One juror cannot preclude the entire jury from

considering a mitigating circumstance.’” Miller v. Johnson, 200 F.3d 274, 288–89 (5th Cir. 2000)

(quoting Jacobs v. Scott, 31 F.3d 1319, 1329 (5th Cir. 1994)). On that basis, the Fifth Circuit has

regularly denied claims based on the 12–10 rule. See, e.g., Young v. Davis, 835 F.3d 520, 528 (5th



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       486 U.S. 367 (1988).

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Cir. 2016) ; Allen, 805 F.3d at 632; Reed v. Stephens, 739 F.3d 753, 779 (5th Cir. 2014); Blue, 665

F.3d at 669-70; Druery, 647 F.3d at 542-43. Petitioner’s claim is therefore foreclosed by clearly

established federal law.

       3.      The special issues in general (Claim 14)

       In his final allegation concerning the Texas special issues, Petitioner challenges the trial

court’s denial of several motions regarding the constitutionality of Article 37.071 of the Texas

Code of Criminal Procedure. In part, these motions argued that Article 37.071 was inadequate and

unconstitutional because: (1) prosecutorial discretion in seeking the death penalty is too broad to

guarantee fair application in all 254 Texas counties, (2) the future-dangerousness special issue is

submitted to the jury but not set forth in the indictment, and (3) it permits the use of unreliable

evidence in obtaining a sentence of death. Each of these allegations were raised and rejected

during Petitioner’s direct appeal proceedings. Gobert, 2011 WL 5881601, at *8. As shown below,

the state court’s rejection was neither contrary to, nor an unreasonable application of, clearly

established federal law.

               a.       Prosecutorial Discretion

       Petitioner first contends the unfettered discretion given to Texas prosecutors to decide

whether to seek a death sentence is unconstitutional. Citing the vote-counting standards articulated

in Bush v. Gore, 23 Petitioner argues the decision to seek the death penalty is arbitrary and

capricious because there is no uniformity in the decision-making process throughout the 254 Texas

counties. However, the Fifth Circuit has rejected similar challenges to prosecutorial discretion,

specifically noting “Bush v. Gore’s utter lack of implication in the criminal procedure context.”

Coleman v. Quarterman, 456 F.3d 537, 542 (5th Cir. 2006) (citations omitted); see also White v.



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       531 U.S. 98 (2000).

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Thaler, 522 F. App’x 226, 235 (5th Cir. 2013) (unpublished) (Equal protection claim based on

Bush v. Gore “is not well taken.”); Chi v. Quarterman, 223 F. App’x 435, 439 (5th Cir. 2007)

(unpublished) (rejecting disparate-treatment claim based on Bush v. Gore as foreclosed by

Coleman).

               b.      Defect in the Indictment

       Next, Petitioner contends that the aggravating factors that were later submitted to the jury

in the punishment phase of his trial should have been included in the indictment and presented to

the grand jury. Although Petitioner’s briefing on this issue is sparse, he appears to rely on the

Fifth Amendment’s right to a grand jury indictment in support of this argument. See United States

v. Robinson, 367 F.3d 278, 284 (5th Cir. 2004) (finding the government is required to charge, by

indictment, the statutory aggravating factors it intends to prove to render a defendant eligible for

the death penalty).

       Petitioner’s allegation is meritless because the right to a grand jury indictment only extends

in a federal death-penalty prosecution and was never imposed on the States through the Fourteenth

Amendment. Albright v. Oliver, 510 U.S. 266, 272 (1994) (noting that the Fifth Amendment right

to indictment was not among the Bill of Rights provisions incorporated into the Fourteenth

Amendment); Robinson, 367 F.3d at 288 (addressing only the requirement of a grand jury

indictment in a federal prosecution); see also Kerr v. Thaler, 384 F. App’x 400, 402-03 (5th Cir.

2010) (unpublished) (same).      Because Petitioner was prosecuted in state court, the Fifth

Amendment’s indictment requirement is irrelevant in this case.

       Moreover, Petitioner’s allegation is based on a pure fallacy—that the future-dangerousness

special issue is an aggravating factor that somehow increases the maximum penalty for capital

murder and must therefore be presented in the indictment. In Texas, the aggravating factors that



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could render a person death-eligible are found solely in Section 19.03 of the Texas Penal Code,

and the eligibility determination is made at the guilt/innocence phase of trial according to the

elements that are alleged in the indictment. See Lowenfield v. Phelps, 484 U.S. 231, 245-46 (1988)

(noting that, in Texas, capital-murder aggravating factors are determined at the guilt/innocence

phase of trial). The special issues addressed at the punishment phase have nothing to do with the

eligibility determination, but instead are designed to narrow the jury’s discretion in making the

ultimate decision whether to impose a death sentence. See Jurek v. Texas, 428 U.S. 262, 279

(1976) (reviewing and upholding the Texas death-penalty statutory scheme). As such, the special

issues are not elements of the offense that must be alleged in an indictment and proven beyond a

reasonable doubt.

               c.     Unreliable Evidence

       Petitioner’s last argument contends that Article 37.071 is unconstitutional because it

permits the use of unreliable evidence to obtain a sentence of death. Because prosecutors offer

testimony by such witnesses as A. P. Merillat and Dr. Richard Coons, Petitioner argues “Article

37.071 invites nothing but unfairness in determining who gets the death penalty, how that issue is

determined, and the type of evidence typically [relied] on to make that determination.” But as the

state court found on direct appeal, “the fact that some prosecutors, in some cases, have offered

some evidence that might be improper does not render the statute unconstitutional in all of its

applications.” Gobert, 2011 WL 5881601, at *8. This determination is entitled to deference, and

Petitioner fails to cite a single case in support of his assertion. Moreover, as discussed in more

detail in Section IV(E), infra, Petitioner has not shown constitutional error in the admission of

either Merillat’s or Dr. Coons’s testimony. Federal relief is thus unwarranted.




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       4.      The Teague Bar

       Finally, relief on each of the foregoing claims is barred by the anti-retroactivity rule of

Teague v. Lane, 489 U.S. 288 (1989). Under Teague, federal courts are generally barred from

applying “new” constitutional rules of criminal procedure retroactively on collateral review.

Caspari v. Bohlen, 510 U.S. 383, 389-90 (1994). A new rule for Teague purposes is one which

was not “dictated by precedent existing at the time the defendant’s conviction became final.”

Felder v. Johnson, 180 F.3d 206, 210 (5th Cir. 1999) (citing Lambrix v. Singletary, 520 U.S. 518,

527-28 (1997)). The only two exceptions to the Teague non-retroactivity doctrine are reserved for

(1) rules that would place certain primary conduct beyond the government’s power to proscribe,

and (2) bedrock rules of criminal procedure that are necessary to ensure a fundamentally fair trial.

O’Dell v. Netherland, 521 U.S. 151, 157 (1997).

       In this case, Petitioner’s conviction and sentence became final for Teague purposes on

October 1, 2012, when the Supreme Court denied his petition for certiorari after his conviction

was affirmed on direct review in state court. Gobert v. Texas, 568 U.S. 827 (2012). Petitioner has

pointed to no precedent since that time mandating the new rules he now proposes. Nor do any of

these new rules fall within either of the two noted exceptions to the Teague doctrine.

Consequently, Teague bars relief on Petitioner’s allegations and precludes this Court from

recognizing the new legal theories underlying his claims. See Blue, 665 F.3d at 670 (holding that

any extension of Mills v. Maryland to Texas’s penalty-phase instructions would violate Teague);

Rowell, 398 F.3d at 379 (finding a violation of Teague would occur if the court were to accept

petitioner’s argument that the future-dangerousness special issue is unconstitutionally vague for

failing to define the term “probability”); see also White v. Thaler, 522 F. App’x 226, 234 (5th Cir.

2013) (finding a petitioner’s “mixed-signals” claim and Apprendi claim to be barred by Teague”).



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E.       Trial Court Error (Claims 12, 13)

         Petitioner’s next two allegations contend the trial court committed error at the punishment

phase of trial by allowing the future-dangerousness testimony of A. P. Merillat and Dr. Richard

Coons. Both claims were raised and rejected during Petitioner’s direct appeal proceedings.

Gobert, 2011 WL 5881601, at *5-8. As discussed below, Petitioner fails to demonstrate the state

court’s rejection of the claims was contrary to, or an unreasonable application of, Supreme Court

precedent.

         1.       A. P. Merillat

         During the punishment phase, the State called A. P. Merillat, an investigator with TDCJ’s

Special Prosecution Unit, who testified generally about the prison classification system and the

undeniable fact that inmates have many opportunities to commit violent acts while in prison.

Petitioner contends the admission of Merillat’s testimony was erroneous because it was neither

scientific nor sufficiently reliable under Rule 702 of the Texas Rules of Evidence. In other words,

Petitioner challenges the trial court’s ruling on state law, namely, the rules embodied in the Texas

Rules of Evidence. 24 Such claims are not cognizable in a federal habeas corpus proceeding, as this

Court must defer to the state-court determination of Texas law. See Swarthout v. Cooke, 562 U.S.

216, 219 (2011) (stating that the Court has repeatedly held that “federal habeas corpus relief does

not lie for errors of state law.”) (citations omitted); Estelle v. McGuire, 502 U.S. 62, 67-68 (1991)

(finding it is “not the province of a federal habeas court to reexamine state-court determinations

on state-law questions.”).




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          Petitioner’s citation to Daubert v. Merrell Dow Pharm., Inc. 509 U.S. 579 (1993), does not alter the fact that
Petitioner is challenging a ruling on state law. Daubert does not establish a constitutional standard which is binding
on the states, but rather is “an exegesis of Rule 702 of the Federal Rules of Civil Procedure and governs the admission
of expert evidence in federal trials only.” Kinder v. Bowersox, 272 F.3d 532, 545 n. 9 (8th Cir. 2001); see also Norris
v. Schotten, 146 F.3d 314, 335 (6th Cir. 1998). As such, Daubert is inapplicable to these proceedings.

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        Petitioner also contends Merillat’s testimony was inadmissible under the Eighth

Amendment’s “heightened reliability” requirement for capital murder prosecutions. According to

Petitioner, the gist of Merillat’s testimony was that TDCJ is a “death trap” and “totally ineffectual”

at safeguarding the lives of those who live and work there. Because this has nothing to do with

the “individualized sentence” he is entitled to under the Eighth Amendment, Petitioner argues,

Merillat’s testimony was unconstitutional.             However, the Eighth Amendment’s heightened

reliability requirement does not concern the admissibility or reliability of evidence, but rather

whether the sentencing scheme as a whole “guards against arbitrariness by streamlining discretion

at the eligibility stage, and then allows for the exercise of wide-ranging discretion at the selection

stage.” Coble v. Davis, 728 F. App’x 297, 301-02 (5th Cir. 2018) (unpublished) (citing United

States v. Fields, 483 F.3d 313, 336 (5th Cir. 2007)). For this reason, the Supreme Court has held

that “it is not the role of the Eighth Amendment to establish a special ‘federal code of evidence’

governing ‘the admissibility of evidence at capital sentencing proceedings.’” Kansas v. Carr, 136

S. Ct. 633, 644 (2016) (citation omitted). Instead, “it is the Due Process Clause that wards off the

introduction of ‘unduly prejudicial’ evidence that would ‘rende[r] the trial fundamentally unfair.’”

Id. (citations omitted).

        Petitioner does not argue that the admission of Merillat’s testimony violated the Due

Process Clause. 25 Nor has Petitioner cited to a single case in which a court found the admission

of unreliable evidence to violate the Eighth Amendment.                    Accordingly, Petitioner’s Eighth

Amendment claim is not cognizable and does not establish a constitutional violation.




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         Even if he had, such a claim was not raised in the state courts and would therefore be procedurally barred
from relief in this Court.

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       2.      Dr. Richard Coons

       Petitioner also challenges the admission of Dr. Richard Coons’s testimony at the

punishment phase. Over the objection of defense counsel, Dr. Coons testified that, in his opinion,

a hypothetical person with Petitioner’s history, conduct, and character would likely pose a danger

of violence in the future. On appeal, the TCCA determined the trial court abused its discretion in

admitting Dr. Coons’ opinion on future dangerousness, but concluded the error was harmless.

Petitioner now contends this determination violated Daubert and his Eighth Amendment right to

an individualized assessment of future dangerousness.

       As stated in the previous section, the Eighth Amendment does not concern the admissibility

or reliability of evidence. Kansas v. Carr, 136 S. Ct. at 644; Coble v. Davis, 728 F. App’x at 301-

02. Even if it did, the Supreme Court has determined that psychiatric testimony predicting a capital

defendant’s future dangerousness is not per se improper. Barefoot v. Estelle, 463 U.S. 880, 898-

99 (1983). Although Petitioner contends Dr. Coons’s testimony failed to meet the Daubert

reliability standard set forth by the Supreme Court ten years after its Barefoot opinion, Petitioner’s

reliance on Daubert is unpersuasive. The Fifth Circuit has repeatedly held that Daubert does not

control the admission of expert mental health testimony regarding future dangerousness offered at

the punishment phase of a capital murder trial. See, e.g., Williams v. Stephens, 761 F.3d 561, 571

(5th Cir. 2014) (“Daubert does not apply to the standards governing the admissibility of expert

evidence at a capital sentencing hearing”); Roberts v. Thaler, 681 F.3d 597, 608-09 (5th Cir. 2012)

(“Barefoot stands for the proposition that expert testimony predicting a defendant’s future

dangerousness is not per se inadmissible.”); Fields, 483 F.3d at 341-43 (holding Daubert

inapplicable to the admission of such testimony); see also Gonzales v. Stephens, 606 F. App’x 767,

774 (5th Cir. 2015) (unpublished) (stating the Fifth Circuit has “consistently held that Daubert did



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not overrule Barefoot for the proposition that expert testimony regarding future dangerousness is

permissible . . .”); Holiday v. Stephens, 587 F. App’x 767, 783 (5th Cir. 2014) (unpublished)

(same).

          Because expert evidence predicting a capital defendant’s future dangerousness is

permissible under Barefoot, Petitioner has not shown constitutional error in the admission of Dr.

Coons’s testimony. Thus, Petitioner has not shown that the state court’s decision regarding this

claim was contrary to, or an unreasonable application of, federal law.

          3.     Harmless Error

          Even assuming the trial court erred in admitting the testimonies of Merillat and Dr. Coons,

Petitioner would still not be entitled to relief because the error was harmless. The Supreme Court

has held that the test for harmless error on federal habeas review is “whether the error ‘had

substantial and injurious effect or influence in determining the jury’s verdict.’” Fry v. Pliler, 551

U.S. 112, 121-22 (2007) (citing Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)); see also Davis

v. Ayala, 135 S. Ct. 2187, 2197–2198 (2015) (outlining distinction between “actual prejudice”

under Brecht and the requirements of the AEDPA). To determine whether the state court’s

admission of the testimony was harmless, the Court will evaluate the following factors: (1) the

importance of the testimony to the State’s case; (2) whether the testimony was cumulative of other

evidence; (3) the presence or absence of evidence corroborating or contradicting the testimony on

material points; (4) the extent of cross-examination; and (5) the overall strength of the State’s case.

Delaware v. Van Arsdall, 475 U.S. 673, 684 (1986).

          Petitioner fails to demonstrate that the testimony of either Merillat or Dr. Coons had a

“substantial and injurious effect” on the jury’s determination of his future dangerousness. First,

these witnesses were only a small part of the State’s case and were only briefly mentioned during



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counsels’ closing arguments. Further, the effect of their testimony was lessened by vigorous cross-

examination by defense counsel. See 34 RR 181-210 (Merillat stating on cross-examination that

his generalized knowledge is not subject to peer review or statistical analysis and admitting some

inmates do make positive changes in prison); 36 RR 275-86 (Dr. Coons admitting that no research

or case studies support the reliability of his methodology and that no professional organization has

approved such future-dangerousness predictions).         Merillat’s testimony was also effectively

rebutted by the contradicting testimony given by the defense’s expert, Larry Fitzgerald. 35 RR

147-205.

       Thus, the impact of Merillat’s and Dr. Coons’s testimony was limited and had little likely

impact on the State’s burden of showing Petitioner was a danger to society. That burden was

instead met by: (1) the abundant evidence presented at the guilt/innocence phase concerning Mel

Cotton’s brutal murder, including the fact that she was stabbed a staggering 107 times, as well as

the fact Petitioner attempted to murder her five-year-old son, Demitrius, (2) the abundant evidence

presented at the punishment phase concerning Petitioner’s lifelong tendency toward violence,

including Petitioner’s prior convictions, domestic assaults, violent behavior while incarcerated,

and murderous plot to escape from jail during his trial, and (3) Petitioner’s own admission to

numerous assaults, including Mel Cotton’s murder, and to violent behavior toward anyone—

including his own mother—who angered him. See Background, Section I(B)(1) and (2), supra.

       As a result, any error in admitting the testimony of Merillat or Dr. Coons was rendered

harmless by the overall strength of the State’s case and the overwhelming evidence of Petitioner’s

potential for future danger. Because it is clear that the admission of their testimony simply had

no prejudicial effect on the jury’s ultimate verdict, relief is denied. Brecht, at 637.




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F.       Search and Seizure (Claim 16)

         In his final claim for relief, Petitioner alleges a violation of his Fourth Amendment rights

because the search warrants used to search his home and obtain DNA samples lacked sufficient

probable cause. On direct appeal, Petitioner unsuccessfully challenged the trial court’s denial of

his motion to suppress evidence taken from his home, car, and person as authorized by four

separate search warrants. He now argues that the state court’s decision upholding the searches

was an unreasonable.

         Relief on Petitioner’s Fourth Amendment allegation is barred pursuant to the Supreme

Court’s decision in Stone v. Powell, 428 U.S. 465, 494 (1976). Under Stone, if the State has

provided “an opportunity for full and fair litigation of a Fourth Amendment claim,” federal habeas

corpus relief may not be granted to a state prisoner on that claim. Id. Indeed, if the State provides

the necessary processes to raise a Fourth Amendment claim, Stone bars federal habeas corpus

consideration of that claim whether or not the defendant employs those processes. Register v.

Thaler, 681 F.3d 623, 628 (5th Cir. 2012); Shislnday v. Quarterman, 511 F.3d 514, 524 (5th Cir.

2007). The Stone bar “applies to all claims arising under the Fourth Amendment,” including

challenges to an arrest or the seizure of evidence. Hughes v. Dretke, 412 F.3d 582, 596 (5th Cir.

2005).

         The State of Texas does have a process that allows defendants to litigate Fourth

Amendment claims at the trial level and on direct appeal. Register, 681 F.3d at 628. In this case,

Petitioner did both, raising his Fourth Amendment claims at the trial level through a motion to

suppress and again on direct appeal. He makes no argument that his opportunity in the state courts

to challenge the admissibility of evidence under the Fourth Amendment was circumscribed in any

way, nor has he alleged “the processes provided by the state to fully and fairly litigate Fourth



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Amendment claims are routinely or systematically applied in such a way as to prevent the actual

litigation of Fourth Amendment claims on their merits.” Williams v. Brown, 609 F.2d 216, 220

(5th Cir. 1980). Consequently, his allegation is barred from federal habeas review.

                                  V. Certificate of Appealability

       The Court must now determine whether to issue a certificate of appealability (COA). See

Rule 11(a) of the Rules Governing § 2254 Proceedings; Miller–El v. Cockrell, 537 U.S. 322, 335-

36 (2003) (citing 28 U.S.C. § 2253(c)(1)). A district court may deny a COA sua sponte without

requiring further briefing or argument. Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000).

But a COA may issue only if a petitioner makes “a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). This requires Petitioner to show that “jurists of

reason could disagree with the district court’s resolution of his constitutional claims or that jurists

could conclude the issues presented are adequate to deserve encouragement to proceed further.”

Buck v. Davis, 137 S. Ct. 759, 773 (2017) (citing Miller-El, 537 U.S. at 327).

       The Supreme Court has explained that the showing required under § 2253(c)(2) is

straightforward when a district court has rejected a petitioner’s constitutional claims on the merits:

The petitioner must demonstrate “that reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000).

The issue becomes somewhat more complicated when the district court denies relief on procedural

grounds. Id. In that case, the petitioner seeking COA must show both “that jurists of reason would

find it debatable whether the petition states a valid claim of the denial of a constitutional right and

that jurists of reason would find it debatable whether the district court was correct in its procedural

ruling.” Gonzalez v. Thaler, 565 U.S. 134, 140-41 (2012) (citing Slack, 529 U.S. at 484). Whatever

the basis for the denial, however, the court must bear in mind that “[w]here the petitioner faces the



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death penalty, ‘any doubts as to whether a COA should issue must be resolved’ in the petitioner’s

favor.’” Allen v. Stephens, 805 F.3d 617, 625 (5th Cir. 2015) (quoting Medellin v. Dretke, 371 F.3d

270, 275 (5th Cir. 2004)), abrogated on other grounds by Ayestas v. Davis, 138 S. Ct. 1080 (2018).

       In this case, Petitioner has not made a “substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2). Nor could reasonable jurists debate the denial of federal habeas

corpus relief on either substantive or procedural grounds, or find that the issues presented are

adequate to deserve encouragement to proceed further. Miller-El, 537 U.S. at 327 (citing Slack,

529 U.S. at 484). Accordingly, Petitioner is not entitled to a COA.

                                    VI. Conclusion and Order

       The Court has thoroughly reviewed the extensive record and pleadings submitted by both

parties in this case. After careful consideration, the Court concludes Petitioner has failed to

establish that the state court’s rejection of the aforementioned claims on the merits during his direct

appeal or state habeas proceedings was either (1) contrary to, or involved an unreasonable

application of, clearly established federal law, as determined by the Supreme Court of the United

States, or (2) based on an unreasonable determination of the facts in light of the evidence presented

during Petitioner’s state trial, appellate, and habeas corpus proceedings.

       With regard to Petitioner’s unexhausted claims, the Court concludes the claims are

procedurally barred from federal habeas relief and that Petitioner fails to establish cause to excuse

the procedural bar pursuant to Martinez v. Ryan, 566 U.S. 1 (2012). Alternatively, even when

evaluated under a de novo standard of review, the claims do not warrant federal habeas relief

because they lack merit.




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     Accordingly, based on the foregoing reasons, IT IS HEREBY ORDERED that:

     1. Federal habeas corpus relief is DENIED and Petitioner Milton Dwayne Gobert’s

Amended Petition for Writ of Habeas Corpus (ECF No. 22) is DISMISSED WITH

PREJUDICE;

     2. No Certificate of Appealability shall issue in this case; and

     3. All other remaining motions, if any, are DENIED, and this case is now CLOSED.

     It is so ORDERED.

     SIGNED this the 30th day of March, 2022.




                                           ____________________________________
                                           ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE




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